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EXHIBIT 25
Case 2:11-cv-12422-AC-MKM_ECF No. 129-26, PagelD.2221 Filed 07/28/14 Page 2 of 30

Page 1 Page 3
UNITED STATES DISTRICT COURT 1 STATE OF MICHIGAN
FOR THE EASTERN DISTRICT OF MICHIGAN 2 IN THE CIRCUIT COURT FOR THE COUNTY OF OAKLAND
SOUTHERN DIVISION 3
4 NICOLE RENEE LUPILOFF, PERSONAL
NATIONWIDE LIFE INSURANCE COMPANY, 5 REPRESENTATIVE OF THE ESTATE OF
a foreign corporation, 6 GARY LUPILOFF, DECEASED,
Plaintiff, 7 Plaintiffs,
vs. Case No. 11-cv-12422-AC-MKM 8 vs. Case No. 2013-135055-NZ
Hon. Avern Cohn 9 Hon. Nanci J. Grant
WILLIAM KEENE, JENNIFER KEENE, MONICA 10 WILLIAM KEENE,
LYNNE LUPILOFF, NICOLE RENEE LUPILOFF il Defendant.
and NICOLE RENEE LUPILOFF, PERSONAL 12
REPRESENTATIVE OF THE ESTATE OF GARY 13
LUPILOFF, DECEASED, 14
Defendants, 15 The Deposition of WILLIAM KEENE,
and 16 Taken at 29800 Telegraph Road,
MONICA LYNN LUPILOFF, NICOLE RENEE 17 Southfield, Michigan,
LUPILOFF and NICOLE RENEE LUPILOFF, 18 Commencing at 1:43 p.m.,
PERSONAL REPRESENTATIVE OF THE ESTATE 19 Thursday, November 14, 2013,
OF GARY LUPILOFF, DECEASED, 20 Before Susan L. Lowry, CSR-2636.
Defendants/Counter-Plaintiffs 21
and Cross-Plaintiffs, 22
23
24
25
Page 2 Page 4
1 VS. 1 APPEARANCES:
2 WILLIAM KEENE, JENNIFER KEENE, 2 MICHAEL F. SCHMIDT
3 Individually, jointly and severally, 3 Harvey Kruse, PC
4 Defendants/Cross-Defendants. 4 1050 Wilshire Drive
5 5 Suite 320
6 6 Troy, Michigan 48084
7 The Deposition of WILLIAM KEENE, 7 248.649.7800
8 Taken at 29800 Telegraph Road, 8 Appearing on behalf of the Plaintiff.
9 Southfield, Michigan, 9
10 Commencing at 1:43 p.m., 10 ALBERT L. HOLTZ
11 Thursday, November 14, 2013, 11 Albert L. Holtz, PC
12 Before Susan L. Lowry, CSR-2636. 12 3910 Telegraph Road
13 13 Suite 200
14 14 Bloomfield Hills, Michigan 48302
15 15 248.593.5000
16 16 AND
17 17 JEFFREY A. DANZIG
18 18 Fieger, Fieger, Kenney, Giroux & Danzig, PC
19 19 19390 West 10 Mile Road
20 20 Southfield, Michigan 48075
21 21 248.355.5555 x238
22 22 Appearing on behalf of Monica Lynne Lupiloff, Nicole
23 23 Renee Lupiloff and Nicole Renee Lupiloff, Personal
24 24 Representative of the Estate of Gary Lupiloff,
25 25 Deceased.

1 (Pages 1 to 4)

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1 JOHN H. BREDELL 1 Southfield, Michigan

2 Bredell & Bredell 2 Thursday, November 14, 2013

3 119 North Huron Street 3 1:43 p.m.

4 Ypsilanti, Michigan 48197 4

5 734.482.5000 5 WILLIAM KEENE,

6 Appearing on behalf of William Keene and Jennifer 6 was thereupon called as a witness herein, and after

7 Keene. 7 having first been duly sworn to testify to the truth,

8 8 the whole truth and nothing but the truth, was

9 ALSO PRESENT: 9 examined and testified as follows:
10 JOSHUA DAVID NUCIAN 10 MR. SCHMIDT: Let the record show this is
11 HAROLD S. FRIED 11 the deposition of William Keene, taken pursuant to
12 Fried Saperstein Abbatt, PC 12 notice under the Federal Rules of Civil Procedure, to
13 29800 Telegraph Road 13 be used for the purposes provided therein.
14 Southfield, Michigan 48034 14 MR. BREDELL: Just one housekeeping matter.
15 248.353.6500 15 There is also pending a civil case in the Oakland
16 Appearing on behalf of William Keene. 16 County Circuit Court with relatives of the Lupiloffs
17 17 that are the plaintiffs. Mr. Holt is the attorney in
18 18 that. We've agreed that this deposition will be in
19 19 both cases.
20 20 I'm going to provide the court reporter
21 21 with a caption on that case, meaning that after this
22 22 dep is concluded, whether it's adjourned to a later
23 23 time or we complete it today, that there will not be a
24 24 second deposition of Bill Keene, that it can be used
25 25 in the Oakland County case. This will be that

Page 6 Page 8

1 TABLE OF CONTENTS i deposition.

2 WITNESS PAGE 2 (Off the record at 1:44 p.m.)

3 WILLIAM KEENE 3 (Back on the record at 1:55 p.m.)

4 4 EXAMINATION

5 EXAMINATION 5 BY MR. SCHMIDT:

6 BY MR. SCHMIDT 8 6 Q. Sir, I'm going to ask you some questions that have to

7 7 do with this lawsuit filed by Nationwide Life

8 EXHIBITS 8 Insurance Company against you and several other

9 EXHIBIT PAGE 9 people. Please listen to the question. If you
10 (Exhibits retained.) 10 understand it, answer it. If you don't, let me know.
11 DEPOSITION EXHIBIT 1 54 11 Okay?
12 DEPOSITION EXHIBIT 2 37 12 A. Yes.
13 DEPOSITION EXHIBIT 3 63 13 Q. Please give a verbal answer to every question so the
14 DEPOSITION EXHIBIT 4 92 14 court reporter can take it down. Try to stay away
15 DEPOSITION EXHIBIT 5 93 15 from words like um-um, either say yes, no or some
16 DEPOSITION EXHIBIT 6 96 16 other complete verbal answer. Is that understandable?
17 DEPOSITION EXHIBIT 7 97 17 A. Yes.
18 DEPOSITION EXHIBIT 8 98 18 Q. Sir, would you please tell us your name.
19 DEPOSITION EXHIBIT 9 101 19 A. William Fraser Keene.
20 DEPOSITION EXHIBIT 10 103 20 Q. And your date of birth?
21 DEPOSITION EXHIBIT 11 106 21 A. 5-10-66.
22 DEPOSITION EXHIBIT 12 109 22 Q. And your current address?
23 DEPOSITION EXHIBIT 13 111 23. A. 2704 Brockman, Ann Arbor, Michigan 48104.
24 24 Q. How long have you lived there?
25 25 A.

Seven or eight years.

2 (Pages 5 to 8)

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Page 9 Page 11
1 Q. And who do you live there with? 1 A. My first job out of college was a job at a psychiatric
2 A. My wife, Jennifer, and my two children and a new 2 hospital called Kingswood.
3 puppy. 3 Q. Where was that?
4 Q. And your children's names are? 4 A. That is -- I believe that's Ferndale.
5 A. Julia and Avery. 5 Q. Is it still in business?
6 Q. And Julia's date of birth is? 6 A. No, it's long gone.
7 A. Julia is September 20th. 7 Q. How long were you working there?
8 Q. The year? 8 A. About a year.
9 A. 2005. 9 Q. What was your job there?
10 Q. Okay. Avery? 10 A. Counselor.
11 A. Avery - it's not 2005, 2008. 11 Q. Are you licensed in psychology?
12 Q. Who's the '8? 12 A. No.
13 A. Julia. And Avery is February 25th, and she is two 13 Q. Okay. What was your next job?
14 years old. So she was born two years ago. 14 A. I worked at a high-fidelity store called the
is Q. So she was bom in 2011? 15 Gramophone.
16 A. Yes. 16 Q. Where was that located?
17 Q. So Avery is a girl? 17 A. West Bloomfield.
18 A. Both girls. 18 Q. Is that still there?
19 Q. You graduated from high school? 19 A. No.
20 A. Idid. 20 Q. What did you do there?
21 Q. Which high school? 21 A. I sold high-end stereo equipment.
22 A. Southfield Lathrup High School. 22 Q. Salesperson?
23 Q. What year? 23 A. Correct.
24 A. 1984. 24 Q. How long were you there?
25 Q. Did you go to college? 25 A. About six months.
Page 10 Page 12
1 A. I did. 1 Q. What was your next job?
2 Q. Where did you go? 2 A. I worked as an English teacher in China.
3 A. I went to Michigan State University and the University 3 Q. How long did you have that job?
4 of Michigan. 4 A. About six months.
5 Q. Did you get a degree from Michigan State? 5 Q. Who was your boss at Gramophone, do you remember?
6 A. Idid. 6 A. A fellow named Richard Howard.
7 Q. What was that? 7 Q. Who was your boss at the Kingswood Hospital?
8 A. Psychology. 8 A. I don't remember.
9 Q. That was a four-year program? 9 Q. This English teacher job, what was that through, some
10 A. Iaccomplished it in five years. 10 program or something?
11 Q. And what year did you graduate? 11 A. It was.
12 A. 1989. 12 Q. What was the program?
13 Q. Then you went to Michigan? 13 A. I worked for the Chinese Overseas Shipping Company.
14 A. I went to Michigan my junior year of undergrad. 14 Q. Where were they located?
15 Q. And why was that? 15 A. In Qingdao, China. Q-I-N-G-D-A-O.
16 A. I wanted to experience the University of Michigan. 16 Q. And that was for how long, you said six months?
17 Q. Okay. So your degree is from Michigan State. 17 A. Um-hum. Yes.
18 A. Correct. 18 Q. And who was your supervisor for that job?
19 Q. Any other education after your degree at Michigan 19 A. I don't remember.
20 State? 20 Q. That was a Chinese operation or a U.S. operation?
21 A. No. 21 A. It was a Chinese operation.
22 Q. Is your marriage to Jennifer your only marriage? 22 Q. Do you speak any language besides English?
23 A. Yes. 23 A. Not really, no.
24 Q. Where were you employed after getting out of college, 24 Q. You were teaching English over there?
25 the first job? 25 A. Correct.

3 (Pages 9 to 12)

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Page 13 Page 15
1 Q. What was your next job? 1 Q. Do you know if they're still in business?
2 A. I became a pharmaceutical rep for a company called 2 A. I don't believe so.
3 Glyderm. I'll speil it for you. G-L-Y-D-E-R-M. 3 Q. Where did you go from there?
4 Q. D- 4 A. Real Estate One right here in Farmington.
5 A. -E-R-M. 5 Q. Okay. Farmington Hills?
6 Q. Where are they located? 6 A. Yes.
7 A. When I worked for them? 7 Q. And who was your boss there? It says manager, Steve
8 Q. Yes. 8 Leiban.
9 A. They were in Bloomfield Hills, I believe. 9 A. Yes.
10 Q. Are they still in business? 10 Q. Is that the right place?
11 A. The company was bought from the owner that I knew, so 11 A. Yeah.
12 I believe they are still in business. 12 Q. LE-I-B-A-N?
13 Q. Who was your boss there? 13 A. Yes.
14 A. The owner of the company was Marvin Klein. 14 Q. In the interrogatories you've got that as starting in
15 Q. K- 15 2000. So is that maybe you were wrong about the other
16 A. --L-E-I-N. 16 one being in '95, whatever you said, five months in
17 Q. Is he still —- 17 95?
18 A. He died. 18 A. That sounds right.
19 Q. He's dead. You said it was bought by someone else? 19 Q. That you were wrong about the '95?
20 A. It was. 20 A. Correct.
21 Q. Do you know who bought it? 21 Q. Okay. So how long were you at Real Estate One?
22 A. A large pharmaceutical company. 22 A. I think about five to six years.
23 Q. Okay. How long were you there? 23 Q. Okay. And your job was a salesperson?
24 A. Five years. 24 A. Correct.
25 Q. And you were a sales rep? 25 Q. And why did you leave that job?
Page 14 Page 16
1 A. Yes. 1 A. I decided to work with Re/Max, with their program.
2 Q. Who was your supervisor? 2 Q. So you went to Re/Max?
3 A. At the end of the company, his name was Martin 3 A. Um-hum.
4 Davidson. 4 MR. BREDELL: Yes?
3 MR. DANZIG: Off the record. 5 A. Yes.
6 (Off the record at 2:02 p.m.) 6 BY MR. SCHMIDT:
7 (Back on the record at 2:03 p.m.) 7 Q. That was in Farmington Hills?
8 BY MR. SCHMIDT: 8 A. Yes.
9 Q. Martin Davidson was the supervisor, correct? Why did 9 Q. Who was your boss there?
10 you leave that job? 10 A. Carol Boji.
11 A. The company was bought by a larger company that no 11 Q. And how long did you stay at Re/Max?
12 longer needed a sales force. 12 A. | think | was there for five or six years.
13 Q. What was your next job? 13 Q. So that would take us up to 2010 or so?
14 A. I became a real estate agent. 14 A. I'm not positive, but I think so.
15 Q. And what company did you work for, your first one? 15 Q. What was your job after that?
16 A. The first one I believe was called Bloomfield -- 16 A. I was with the current company I'm with now called
17 Bloomfield Hills Realty, I think. 17 Community Choice Realty.
18 Q. Where was that? 18 Q. Why did you leave Re/Max?
19 A. In Bloomfield Hills. 19 A. Community Choice had a better program for me.
20 Q. Who was your supervisor there? 20 Q. I don't need a long dissertation, but what do you mean
21 A. Walt Flood. F-L-O-O-D, I believe. 21 a better program?
22 Q. What years were you there? 22 A. Re/Max charges approximately $1,000 a month to hang
23 A. I would estimate 1993 to maybe '95. 23 your license there, Community Choice only charges $145
24 Q. How long were you there? 24 a month for the same service.
25 A. About five months. 25 Q. Who was your boss at Community Choice?

4 (Pages 13 to 16)

Case

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Page 17 Page 19
1 A. John Evans. 1 Q. So what was the claim? How much money were you suing
2 Q. John Evans? 2 for?
3 A. Yes. 3 A. I don't know exact. I think it was maybe four or
4 Q. Where is Community Choice located? 4 $5,000, something like that.
5 A. On Maple in Birmingham. 5 Q. And what happened to that case? Did you try it or
6 Q. So you commuted to there from Ann Arbor? 6 settle it or what?
7 A. I don't have to go into the office. 7 A. We tried it.
8 Q. Okay. Are you still at Community Choice? 8 Q. And what happened? Did you win or lose?
9 A. Yeah. 9 A. Llost.
10 Q. And your job, your position is salesperson? 10 Q. So you got no money?
11 A. Salesperson. 11 A. No. The fellow ended up paying me $2,000.
12 Q. Does that cover all your employment from college up 12 Q. And how was that?
13 until now? 13 A. It was a fair amount of money he thought for having
14 A. Yes. 14 access to a road that J built for him.
15 Q. Have you been involved in any lawsuits other than the 15 Q. So you tried the lawsuit, you lost but he still paid
16 one that we're here for today? 16 you 2,000 bucks.
17 A. Yes. 17 A. Correct.
18 Q. What other lawsuits? You mentioned in the 18 Q. What was his name?
19 interrogatories the Alvie case. Do you know what I'm 19 A. I don't remember.
20 talking about? 20 Q. Any other lawsuits you've been involved in?
21 A. Oh, Avie case, A-V-I-E, yeah. 21 A. Not that I can remember.
22 Q. SoI'm familiar with that one. That was the Oakland 22 Q. Have you ever made any insurance claims, a stolen car,
23 County Court? 23 a house broken into?
24 A. I believe so, yes. 24 MR. BREDELL: You're not including health
25 Q. What happened in that case? Tried, settled? 25 insurance claims, I take it? What kind of claim? Be
Page 18 Page 20
1 A. I believe we settled before we went to trial. 1 more specific.
2 Q. And they paid you some money? 2 BY MR. SCHMIDT:
3 A. Yes. 3 Q. Not including for health insurance.
4 Q. Do you remember what they paid you? 4 A. I think I filed a claim for some water damage to a
5 A. I believe it was 2,000 or so dollars a month for 5 house in Walled Lake.
6 approximately a year. 6 Q. When was that?
7 Q. Any other lawsuits you've been in, either suing 7 A. I don't remember the year.
8 somebody or getting sued, other than this one and the 8 Q. A house you owned, or what?
9 Avie case? 9 A. Towned.
10 A. Isued someone a number of years ago. It had to deal 10 Q. Is ita house you lived in?
11 with a road being built. li A. lowned and I lived in.
12 Q. That's not in interrogatory answers, is it? 12 Q. Do you remember who the insurance company was?
13 A. No. 13 A. No, I don't.
14 Q. What court were you in? 14 Q. Do you remember how much money you got?
15 A. It took place in South Lyon, so J'm not sure of the 15 A. No.
16 court. I think it was off of Grand River. 16 Q. Was it more than 10,000 bucks?
17 Q. A district court, if you know? You were suing 17 A. No.
18 somebody? 18 Q. Any other insurance claim that you can recall making
19 A. Yes. 19 other than for health insurance?
20 Q. What for? 20 A. No.
21 A. For him to pay his fair share of a road that I built. 21 Q. Did you ever file a workers' comp claim?
22 Q. And where did you build a road? 22 A. No.
23 A. In South Lyon. 23 Q. Have you ever been arrested for anything?
24 Q. That was a special kind of a project or something? 24 A. No.
25 A. Yes. 25 Q. Have you ever declared bankruptcy?

5 (Pages 17 to 20)

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Page 21 Page 23

1 A. Nope. 1 Community Choice, are you an independent contractor or

2 Q. Any company that you've had ownership interest in ever 2 an employee, if you know?

3 file for bankruptcy? 3 A. I'm an independent contractor.

4 A. No. 4 Q. Does that pertain to every real estate job you've had,

5 Q. Do you have any expert witnesses for this case? 5 you've always been an independent contractor?

6 A. I believe that’s a question for —- 6 A. Yes.

7 MR. BREDELL: Well, I've given you all of 7 Q. And do you have -- do you just work under your own

8 the witness lists. 8 name or do you have a business name that you use?

9 MR. SCHMIDT: Well, you answered has not 9 A. Both. I have my own personal name and | work under
10 retained any experts but reserves the nght to do so. 10 the name of the company, whether it's Community Choice
11 So as of today do you have any expert 11 Realty or Re/Max or Real Estate One.

12 witnesses? 12 Q. We've reviewed your tax returns, or whatnot, and you
13 MR. BREDELL: No. 13 had a significant decline in your income from 2006 to
14 MR. SCHMIDT: Pardon me? 14 2007 to 2008. Can you explain why that was going on?
15 MR. BREDELL: No. 15 A. The market slowed down a little bit.
16 BY MR. SCHMIDT: 16 Q. Well, you went from making 60, 70, 80,000 bucks to
17 Q. Have you given any statements to anybody about what is 17 losing 8,000 bucks. What else is that, the market is
18 involved with this case other than talking to your 18 slowing down?
19 attommeys? 19 A. I'm not sure exactly what numbers you're talking
20 A. I talked to my father about it. 20 about.
21 Q. Was that a written, oral, recorded? How was it? Just 21 Q. Your total income in 2008, reported to the IRS, was a
22 talking? 22 negative $8,686. It had been $86,600 three years
23 A. Just talking. 23 earlier. So you went from 86,600 in 2005 to 63,400 in
24 Q. It wasn't written? 24 2006 to 17,600 in 2007 to losing 8,686 in 2008. So
25 A. (Shakes head.) 25 what is your explanation for that?

Page 22 Page 24

1 Q. It wasn't taped or anything? 1 A. I wrote off a lot of things on my taxes.

2 A. No. 2 Q. What do you mean by that? What are you writing off on

3 Q. Have you given any written or tape recorded 3 your taxes?

4 statements? 4 A. A lot of my expenses | get to write off on my taxes.

5 A. No. 5 So even though it may not show that I made a lot of

6 Q. As far as statements that you're aware about the 6 money, I think I did just fine.

7 incident, you have the one statement from your 7 Q. So are you saying that your overall receipts stayed

8 neighbor, Susan Smith. Any other written statements 8 the same over that period of time, 2005 to 2010 or so?

9 you're aware of? 9 A. I don't know, I'd have to look at my taxes.

10 A. Written statements about this case? 10 Q. You produced tax returns in this case, in response to
11 Q. About the incident, correct, this case. 11 our discovery requests, but the ones we got from the
12 A. IT believe there was a witness at the scene of the 12 IRS were different, had different numbers on them.
13 crime that was fisted in the documents. 13 Can you explain why that would be?

14 Q. Mary Colombo? 14 A. No.

15 A. I believe that's her name. 15 Q. Did you know that what you gave us had different
16 Q. Other than Mary Colombo and Susan Smith, are you aware 16 numbers than what you filed with the IRS?

17 of any other statements from anybody concerning this 17 A. No.

18 incident or that this lawsuit concems? 18 Q. You had a loss of 49,500 bucks from a company called
19 A. I can't think of anyone right now. 19 Pipeline, LLC in 2007. What was Pipeline, LLC?

20 Q. For your real estate work, is that -- this question 20 A. That was a company owned by Roger Avie.

21 pertains to the time period 2002 to 2010 -- was that 21 Q. What was the loss for?

22 commercial, residential, or what was it? 22 A. Pipeliners gave me, | believe a document called a K1
23 A. During that time period, I primarily dealt with 23 or K2, which allowed me to use their losses in their
24 residential real estate of one form or another. 24 company to offset gains that | had that year.

25 Q. When you're working for these real -- like your job at 25 Q. In 2008 you had a $21,200 interest expense. Do you

6 (Pages 21 to 24)

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Page 25 Page 27
1 know what that was for? 1 2009 -- oh, you have two different incomes, 46 and 5,
2 A. Not off the top of my head. 2 and then 15,000 and 6,000 in 2010.
3 Q. What would you have to look at to refresh your memory 3 A. Un-hum.
4 about that? 4 Q. You told me before that you, I thought you said your
5 A. I would have to look at my tax documents, I believe. 5 receipts stayed the same and you just had higher
6 Q. Well, we asked you today did you bring with you all 6 expenses.
7 documents requested and all discovery requests needed 7 Are these numbers night or wrong as far as
8 in this matter, to bring all documents produced by 8 what your receipts are?
9 third parties. We requested your tax returns. 9 A. Well, without looking at my personal tax records that
10 So do you have those with you to look at? 10 I've done myself, if these are correct, then in 2010 I
11 A. No, I don't. 11 made 15,000 bucks.
12 Q. Were you aware this deposition was duces tecum, to 12 Q. My earlier question was, was whether your income was
13 bring with you all document requests and all discovery 13 going down from 2005 up to 2010, and you said -- I
14 requests made in this case? 14 thought what you said was that your income wasn't
15 MR. BREDELL: I've given them all to you. 15 going down, your receipts weren't going down but your
16 We've given you all of those. 16 expenses were going up.
17 MR. SCHMIDT: But I'm asking him to find 17 Does this refresh your memory that maybe
18 something, he said he's got to look for in there. 18 you were wrong about that?
19 BY MR. SCHMIDT: 19 A. Well, with regard to 2009 and 2010, the amount of
20 Q. So you don't have them with you? 20 money I made went down substantially. But for the
21 A. I did not bring any documents with me. 21 amount of time and effort that I was putting into
22 Q. Let me hand you this document, it's called Schedule 2. 22 work, J would say they are comparable.
23 It's a summary of your tax return information. In 23 Q. What do you mean by that?
24 that column entitled — in the fourth column over, 24 A. Well, in 2010 I became a stay-at-home dad, so my hours
25 2008 Realtor, do you see that column? 25 that J worked went down substantially.
Page 26 Page 28
1 A. Yes. 1 Q. And why did you become a stay-at-home dad in 2010?
2 Q. And about halfway down, over to the left of that, 2 A. Because my wife gave birth to our child.
3 expenses, interest 21,207? 3 Q. And what does your wife do?
4 A. Um-hum. 4 A. She's called a physician assistant.
5 Q. Does that refresh your memory, looking at those 5 Q. So she gave birth to her child, so then you decided
6 numbers, as to what that was for? 6 for you to stay home and take care of the children and
7 A. No, I don't know exactly what that number would be 7 she goes to work?
8 for. I could guess, but I don't know off the top of 8 A. That's right.
9 my head. 9 Q. And whose decision was that?
10 Q. Allright. Subject to objection, what's your guess as 10 A. It was both of ours.
11 to what it is? 11 Q. So why did your income go down in 2009?
12 A. It could be $21,000 of interest that I wrote off on my 12 A. The market slowed down.
13 taxes, which was interest that 1 paid on the mortgage. 13 Q. In 2008 you've got a deduction for business use of
14 But that's my just best guess. 14 your house. Do you see that at the bottom of that
15 Q. Hf you look across, this is for every year, from 2006 15 schedule in 2008? The same column as the interest is
16 to 2010, you don't have interest in any other year. 16 in.
17 So that's what I'm just wondering. But you don't 17 A. Okay.
18 remember why you would have 21,000 in one year and not 18 Q.. The third number from the bottom, $20,083, business
19 in any other year? 19 use of home.
20 A. No. 20 A. Um-hum.
21 Q. If you look across the top, it's got your gross 21 Q. Do you see that?
22 receipts. 22 A. Yes.
23 A. Um-hum. 23 Q. Why do you have that only in 2008?
24 Q. And it's got 152,000 in 2005, 94,000 in 2006, 65,000 24 A. When I did my taxes, | didn't always include that in
25 in 2007, 71,000 in 2008, 46,000 in 2009, 5,000 in 25 every year. So I included it in 2008, but I didn't

7 (Pages 25 to 28)

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1 include it in the other years. 1 Q. Do you know if you had the same tenant from 2007 into
2 Q. Is there any reason why in 2008 you did it and no 2 '8 and into '9, the same person, or not?
3 other years? 3 A. I don't believe so.
4 A. No. 4 Q. Do you recall who your tenant was in 2007 at Rolling
5 Q. Did your use of your own differ in 2008 from what you 5 Pine?
6 did in the other years as far as business goes? 6 A. I believe it was a couple from Australia.
7 A. No. 7 Q. Do you remember their name?
8 Q. Did you do your own taxes or did you have someone help 8 A. I think their last name was Roberts.
9 you? 9 Q. Do you know where they are today?
10 A. Sometimes J did my own taxes and sometimes I hired 10 A. No, I don't know where the wife lives, but come to
11 someone. 11 think of it I don't know if it was — yeah, I'm trying
12 Q. Look at Schedule 3. At the top right corner it says 12 to remember if it was Australia or England somewhere,
13 Schedule 3. 13 where they came from. But I think that's when they
14 A. Um-hum. 14 moved out, was in 2007.
15 Q. It's got income and expenses for your rental 15 Q. Do you remember what the first name was?
16 properties. 16 A. I think the wife's name was Sandy.
17 You've got income and expense in 2006 and 17 Q. Do you remember the husband's name?
18 2007 but none in 2008. Do you know why that is? 18 A. Not off the top of my head.
19 A. No, J don't. 19 Q. You would have that in some records somewhere?
20 Q. In the prior year, 2007, you've got income from 4396 20 A. I believe I would.
21 Rolling Pine. And you've got nothing for 4396 Rolling 21 Q. Okay. And then who was the next tenant there?
22 Pine in 2008, then you have income from Rolling Pine 22 A. I believe I had a pastor live in the home.
23 in 2009. 23 Q. What year would that have been?
24 Do you know why Rolling Pine had income and 24 A. I would think that would have been around 2008.
25 expense in 2007 and 2009 but not 2008? 25 Q. Do you remember his or -- was it a lady or a man?
Page 30 Page 32
1 A. Well, the property was rented out, I believe money was 1 A. It was aman.
2 received, but J don't -- I don't know why it was not 2 Q. Do you remember his name?
3 listed. I may have put the money somewhere else. 3 A. No, I don't off the top of my head.
4 Q. What do you mean by put the money somewhere else? 4 Q. How long was he there?
5 A. Like I might have written the rent received somewhere 5 A. I'm not sure when he moved out and when he -- moved in
6 else in my taxes, but | don't really remember. 6 or moved out, but I would think somewhere around a
7 Q. According to this, the only rent you put down on your 7 year.
8 taxes in 2008 was zero. Do you recall you had no rent 8 Q. Who came in after him, anybody?
9 in 2008? 9 A. Yes, I did have a fellow move in after the pastor.
10 A. Off the top of my head, I don’t remember how long 10 Q. Do you remember what his name was?
li property was rented in 2008. 11 A. His name was Todd Burch.
12 Q. Do you know what Schedule E is for federal tax 12 Q. B-U-R-C-H?
13 filings? 13 A. [actually don't know how to spell his last name.
14 A. Not off the top of my head, no. 14 Q. Do you know where he is now?
15 Q. If] told you Schedule E was for income from rental 15 A. No.
16 properties, would you know that was correct or not? 16 Q. How long was he there?
17 A. FE wouldn't know for sure, no. 17 A. 1 believe he was there for less than a year.
18 Q. Ifyou weren't putting your rents received and 18 Q. Who followed Mr. Burch as a tenant?
19 expenses for 4396 Rolling Pine on Schedule E, where 19 A. Noone.
20 did you put it? 20 Q. He was the last one?
21 A. Mr. Schmidt, I don't really remember 2008, without 21 A. Correct.
22 looking at my own tax records to see how it was 22 Q. Was that the home that was foreclosed on?
23 rendered or not. 23 A. Correct.
24 Q. Do you remember having a tenant there in 2008? 24 Q. Ifyou look for 2009, there's two other, there's this
25 A. | believe I did, but I can't say for sure. 25 3983 Courville, C-O-U-R-V-I-L-L-E, and 3006 Kendall,

8 (Pages 29 to 32)
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1 K-E-N-D-A-L-L. Were those properties rented? 1 checks, $16,018, $21,345 and 18,000 written from the
2 A. No. 2 BK-H, LLC National City/PNC Bank account in February,
3 Q. You had bought those to be rentals? 3 March and Apnil of 2006.
4 A. I bought them to flip them. 4 Do you know what those large checks were
5 Q. So you did not intend to rent them? 5 for, who they were written to and for what?
6 A. It wasn't my plan. 6 A. No.
7 Q. And you never rented them. 7 Q. Do you have to review some records to remember what
8 A. No. 8 that was?
9 Q. Correct? 9 A. I would.
10 A. Correct. 10 Q. Ifyou look over on the left column, it's got deposits
11 Q. What happened to those properties? 11 in October, November and December of 2008 of $30,000,
12 A. If remember right, Courville I sold after a number 12 $30,000 and $10,000.
13 of months, and Kendall I believe burnt down. 13 Do you know what those were for, the source
14 Q. What town was Courville in? 14 of those deposits?
15 A. Detroit. 15 A. No, I don't remember what those were for.
16 Q. Do you remember what you sold it for? 16 Q. Would you have records to be able to find that out?
17 A. No. 17 A. I could, I'm sure.
18 Q. Did you make money on it or lose money? 18 Q. In late 2008, if you go over to the far right column,
19 A. I believe I lost money on it. 19 about the same time as those deposits, it looks like
20 Q. How about on the Kendall property, did you have an 20 almost all the money that was in that account, 11,000,
21 insurance Claim for that? 21 33,856 and 10,000 were withdrawn.
22 A. No. 22 A. Um-hum.
23 Q. You had no insurance? 23 Q. Do you know why that was done?
24 A. No. 24 A. No, off the top of my head I don't.
25 Q. Correct? 25 Q. Would you have records to figure that out?
Page 34 Page 36
1 A. Correct. 1 A. I could, I'm sure.
2 Q. Was that also in Detroit? 2 Q. If you look at that, that overall Schedule 7, it looks
3 A. Yes. 3 like there's some activity in February, March and
4 Q. BK-II Development, LLC; do you know what that is? 4 Apnmil of 2006, and there's like no activity until
5 A. Yes. 5 October of 2008, we're talking a year and-a-half
6 Q. What is that? 6 almost. Do you know why that is?
7 A. That's a company that I own. 7 Did I say a year and-a-half? I meant to
8 Q. And what business is that for? 8 say two and-a-haif years.
9 A. To buy real estate. 9 A. I'm not positive, but I believe the withdrawals were
10 Q. To buy and sell? 10 to purchase real estate in Detroit.
11 A. Correct. 11 Q. That would have been Kendail and Courville?
12 Q. Also to rent, or not? 12 A. Correct.
13 A. No, I don't think to rent. 13 Q. But my question is why there's no activity for two
14 Q. How long has that been in business? 14 and-a-half years.
15 A. A number of years. 15 A. | didn't buy any properties to flip.
16 Q. Do you have any partners? 16 Q. If the properties held were Kendall and Courville,
17 A. No. 17 then what's the source of the income in October,
18 Q. Do you know what years -- is it still in business? 18 November and December of 2008 of $70,000?
19 A. I don't believe it's still in business. 19 A. If] remember right, ] brought in some investors to
20 Q. What years was it in business? 20 put in some money. So I put the money into the
21 A. I don't know off the top of my head. 21 account and I took money out of the account to buy the
22 (Off the record at 2:40 p.m.) 22 real estate.
23 (Back on the record at 2:41 p.m.) 23 Q. Well, when did you buy the real estate, in 2008 or in
24 BY MR. SCHMIDT: 24 2006?
25 Q. If you look at that, it shows there were some large 25 A. Well, I believe it would have been right around 2008

9 (Pages 33 to 36)
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1 that I was purchasing the properties. 1 A. I'm sorry, your question?
2 Q. Does that refresh your memory of why the money is 2 BY MR. SCHMIDT:
3 going out in 2006? 3 Q. Till show you Schedule 3. I showed you Schedule 2-A.
4 A. Yeah, I'm pretty sure that's exactly where the money 4 That shows she had $78,700 in Vanguard --
5 went, to buy and fix up properties in the City of 5 A. Um-hum.
6 Detroit. 6 Q. -- which she closed in December of '10.
7 Q. Tmasking now 2006. 7 And then Schedule 3 is for Midwest Credit
8 A. Oh, 2006? 8 Union.
9 Q. You've got money going out in 2006, 16,000, 21,000, 9 A. Um-hum.
10 and 18,000. 10 Q. And it shows that she wrote a check for $78,400 out of
11 Do you know why that's going on? 11 that account in February of "11.
12 A. I'd have to go back in my records. I believe that's 12 Do you know where she sent that money?
13 when I was doing a land development project in South 13 A. No.
14 Lyon, but I'm not a hundred percent positive. 14 Q. Do you recall discussing that with her, who she'd be
15 Q. Your wife had a Vanguard account. Were you familiar 15 writing a check for for 78,000 bucks?
16 with that at all? 16 A. No.
17 A. No. 17 Q. Do you remember having a PNC home equity line of
18 Q. She had a Vanguard account with $78,700 in it in 18 credit?
19 December of '10, closed that and switched it over to a 19 A. I believe I did.
20 checking account at Midwest Credit Union. 20 Q. Do you know how much you borrowed against that line of
21 Were you aware of that transaction? 21 credit in 2007?
22 A. No. 22 A. Not an exact number.
23 Q. Were you aware that she had $78,700 in a Vanguard 23 Q. Schedule 11 shows you borrowed $48,000 between April
24 account in December of 2010? 24 to November of 2007.
25 A. T'mnot aware of the exact number, but I know my wife 25 Do you know what that was for?
Page 38 Page 40
1 had money in accounts. 1 A. No. I'd have to open my records.
2 Q. Do you know how much she had? 2 Q. Do you remember having a Fidelity brokerage account?
3 A. Not exactly, no. 3 A. I believe I did.
4 Q. You don't share financial information with your wife? 4 Q. Schedule 19 is for your Fidelity account. It shows a
5 A. We share financial information with one another, but 5 10,000 deposit in December of '06.
6 not with regard to exact numbers, just ballparks. 6 Do you know what that was from?
7 Q. So what balipark were you aware she had in a Vanguard 7 A. Yes.
8 account in December of '10? 8 Q. What was that from?
9 A. Off the top of my head, I don't know. But I was aware 9 A. I believe Chase offered a credit card, where you could
10 of all of her, I'm sure all of her financial 10 take $10,000 out at no interest for one year. So I
11 situations, what accounts she had. 11 took the money out and I invested it in Fidelity.
12 Q. I'll show you this Schedule 2-A. And that shows she 12 Q. Which bank was that from?
13 had the $78,700 in the Vanguard account, which she 13 A. Chase.
14 took out of there. 14 Q. So you could use 10,000 bucks from Chase for a year
15 A. Um-hum. 15 with no interest?
16 Q. Were you aware that she then transferred it to Midwest 16 A. Correct.
17 Credit Union and wrote a check for $700,700 (sic) out 17 Q. That account was then liquidated in 2009. Why was
18 of Midwest Credit Union? 18 that?
19 MR. BREDELL: What's the number again you 19 A. Well, I'm not sure of the date, but the stocks I
20 said? 20 bought all went down and I lost money, so I liquidated
21 MR. SCHMIDT: $78,700. 21 the account, essentially.
22 MR. BREDELL: | thought you said 700,000. 22 Q. Where did you send the money that was left to?
23 MR. SCHMIDT: Did I say 700,000? 23 A. I spent it.
24 MR. BREDELL: Yes. That's okay, you 24 Q. Pardon me?
25 corrected it. 25 A. I spent it.
10 (Pages 37 to 40)

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1 Q. The 6,500 bucks that you had left, you spent? 1 $2,700.
2 A. If that's what was left, yes. 2 In 2005, your income was 86,000; in 2006,
3 Q. You had a PNC -- you had, what, a line of credit or an 3 $3,000; in 2007, 17,000; in 2008 you lost 8,600 bucks.
4 account with PNC Bank, do you remember, in 2010? Did 4 So from 2005 your joint income was
5 they write that off? 5 $156,000, 2008 you had a joint net loss of $5,900.
6 A. Which account, I apologize? 6 Do you consider that a financial problem or
7 Q. PNC, do you recall them writing off one of your 7 not?
8 accounts with them? 8 A. Nope.
9 A. They may have. 9 Q. So losing money as opposed to making $150,000 is not a
10 Q. Do you know why? 10 problem in your definition.
11 MR. BREDELL: You'd probably have to ask 11 A. For my wife and myself, not making money for that year
12 them. 12 was not a problem.
13 BY MR. SCHMIDT: 13 Q. The next year your joint income was 60,000 bucks,
14 Q. Did they discuss it with you, why they were just going 14 which was less than half of 2005. Is that still not a
15 to write it off? 15 problem?
16 A. I] don't remember off the top of my head. 16 A. Nota problem.
17 Q. Did you ever consider, in a period of time from 2002 17 Q. In 2010 it's 85,000, which is less than half of 2005.
18 to 2010, to file bankruptcy? 18 Is that still not a problem?
19 A. You're asking me if I ever thought of -- 19 A. Nota problem.
20 Q. Were you considering it? 20 Q. Your credit card debt increased from $27,000 in 2008
21 A. No. 21 to $38,000 in 2010. Is that a problem or nota
22 Q. Were you getting into financial problems during that 22 problem?
23 period of time? 23 A. It's not a problem.
24 A. No. 24 Q. Your bank account balances declined from an average
25 Q. Pardon me? 25 ending balance of $14,000 in 2006 to $1,000 in 2007 to
Page 42 Page 44
1 A. Nope. 1 2010. Is that a problem or not a problem?
2 Q. Were you in a declining financial condition over that 2 A. In my definition of a problem, it was not a problem
3 period of time? 3 for us.
4 A. I was making less money. 4 Q. Your checking account balances declined from 28,000 to
5 Q. What, did you have more debts? 5 26,000 from 2005 to 2008 to 8,000 in 2009 and 2010.
6 A. Did] have more debts. I don't understand the 6 Is that a problem or not?
7 question. 7 A. No.
8 Q. Did you or did you not have financial problems over 8 Q. You had significant fees for insufficient fund checks,
9 the period 2002 to 2010? 9 overdrafts, returned checks and late fees and finance
10 MR. BREDELL: You can do a better job at 10 charges in 2008, '9 and '10.
11 defining problems. 1i Is that a problem or not a problem?
12 BY MR. SCHMIDT: 12 A. It was not a problem.
13 Q. Do you know what I mean by a financial problem? You 13 Q. Pardon me?
14 can answer the question. 14 A. It was not a problem.
15 A. Oh, I can? 15 Q. Do you think it's appropriate to have NSF checks and
16 Q. Yes. You only don't answer if he tells you not to, 16 overdraft checks and returned checks in your account?
17 but I didn't hear him tell you not to. 17 A. It was at that time.
18 A. No, actually, I don't feel like I was having major 18 Q. Pardon me?
19 problems. 19 A. It was.
20 Q. You said major problems. Were you having problems at 20 Q. Why were you having all of those NSF checks and
21 all, financial problems, or not? 21 overdrafts and returned checks?
22 A. I don't understand how you're phrasing problem. In my 22 A. There wasn't money in the account.
23 mind, no, I don't feel like I was having problems. 23 Q. But that's not a problem?
24 Q. Okay. Starting in 2005, your wife's income was 24 A. No, it wasn't.
25 $70,000; in 2006, 50,000; in 2007, 75,000 and 2008, 25 Q. So the fact that your income is down, your bank

11 (Pages 41 to 44)
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1 accounts are down, you're getting all kinds of bounced 1 A. No.
2 checks, why are you not saying you have financial 2 Q. So for that whole transaction of Rolling Pine, your
3 problems? 3 loss was a hundred thousand for buying the property,
4 A. Because we weren't. 4 then a hundred thousand that you borrowed, so then
5 Q. How do you define a financial problem? 5 your net loss was only a hundred thousand for buying
6 A. I don't know really how to answer that, Mr. Schmidt. 6 it and 15,000 your dad had to pay. Is that about
7 Q. You had that property on Rolling Pine in Bloomfield — 7 right?
8 West Bloomfield, wasn't it? 8 A. No, my only loss was $15,000.
9 A. Correct. 9 Q. Well, if you bought it for 527, and you mortgaged 422,
10 Q. You bought it for 527,500 bucks, a mortgage of 10 you had to come up with a hundred thousand bucks,
11 422,000. Does that sound right? 11 didn't you?
12 A. About right. 12 A. I'msorry. One more time.
13 Q. And you had an additional home equity line of credit 13 Q. Ifyou bought it for 527,000 and the mortgage was 422,
14 of $100,000? 14 didn't you have to come up with $100,000?
15 A. Yes. 15 A. Idid put $100,000 down, approximately.
16 Q. And then the assessed value of that home went down to, 16 Q. So when it went into foreclosure, you lost a hundred
17 by 2010, to $210,000; does that sound right? 17 thousand, didn't you?
18 A. Yes. 18 A. No.
19 Q. That property was foreclosed on? 19 Q. Why not?
20 A. Yes. 20 A. Because J took out a home equity loan and I pulled out
21 Q. You owed the bank a hundred thousand on a line of 21 a hundred thousand dollars. I had no equity in that
22 credit? 22 home at all.
23 A. Correct. 23 Q. Is that why you took that home equity line of credit,
24 Q. What happened to that? 24 to get your hundred thousand dollars back?
25 A. I've made a settlement with the home equity loan 25 A. At the time J took the home equity loan out, no, that
Page 46 Page 48
1 company. 1 wasn't my intention.
2 Q. What was the settlement? 2 Q. So your net position from that transaction was minus
3 A. $15,000. 3 $15,000 you borrowed from your dad. Is that right?
4 Q. What account did that come out of? 4 A. No.
3 A. My father’s. 5 Q. What's wrong with that?
6 Q. And what's your dad's name? 6 A. Because I made lots of money in rental income over the
7 A. Irving Keene. 7 years, so that number for that particular property was
8 Q. And where does he live? 8 plus side for me.
9 A. He used to live in Franklin. He has passed away. 9 Q. And that rental income is all on that schedule you
10 Q. And when did he pass away? 10 went over earlier from Rolling Pine?
11 A. Three months ago. 11 A. Yep. A lot of the rental incomes are shown there,
12 Q. Other than your dad, were you getting support from 12 correct.
13 anybody else during this period of time, 2006 to 2010? 13 Q. The Brockman home, who is that owned by?
14 A. I was not. 14 A. That's in my wife's name.
15 Q. Was your wife getting support from someone else? 15 Q. Have you ever had an ownership interest in that?
16 A. Yes. 16 A. No.
17 Q. Who does she get it from? 17 Q. And why is it only in your wife's name?
18 A. She got support from her mother and her father. 18 A. At the time that she purchased it, I had the Rolling
19 Q. Over the period of 2002 to 2010, how much support did 19 Pine home in my name. So for tax purposes, it's
20 you get from your dad? 20 better for her to have the house in her name and I had
21 A. Icouldn't give you an exact number. 21 the Rolling Pine house in my name.
22 Q. Well, ballpark. 22 Q. Did she own that before you were married or not?
23 A. I think 24, $25,000, approximately. 23 A. After we were married.
24 Q. Do you know how much support your wife got from her 24 Q. You've got a lien on the Brockman home for unpaid
25 parents over the period of 2002 to 2010? 25 taxes in 2009 and 2010. Do you know why that was?

12 (Pages 45 to 48)

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1 A. I've never heard of that before. 1 involved in before that?
2 Q. You weren't aware there were taxes owed on that 2 A. No.
3 property that weren't paid? 3 Q. Did you still deal with Mr. Stevens after that meeting
4 A. Correct. 4 in 2002?
5 Q. Do you recall there being a judgment against you by 5 A. Imay have seen Charles a half dozen times after that,
6 City Bank in, | believe, 2010 or '11? 6 but we didn't do any other business dealings.
7 A. It sounds familiar. 7 Q. Did you ever have any accounts with him?
8 Q. What was that, for $7,800? 8 A. Idid.
9 A. I don't know the exact number, but that sounds about 9 Q. And when did those stop?
10 right. 10 A. I don't know the exact year.
11 Q. What was that for? 11 Q. Approximately.
12 A. It may have been a credit card, I'm not positive. 12 A. Maybe 2004.
13 Q. As far as the keeping of the records and payments, and 13 Q. And how come you stopped dealing with Mr. Stevens?
14 whatnot, on the Brockman home, is that all done by 14 A. ididn't trust him.
15 your wife then? 15 Q. And why not?
16 A. We split them. 16 A. He put together the deal with me and Mr. Lupiloff.
17 Q. The mortgage payments, who pays those? 17 Q. The deal involving the t.v. for the auto show?
18 A. Mostly my wife. 18 A. Correct.
19 Q. As far as keeping the books for the Brockman home, who 19 Q. So when did you first meet Mr. Lupiloff, do you
20 keeps the books? 20 remember when that was?
21 A. Mostly my wife. 21 A. I believe it was 2002.
22 Q. So she never told you that the taxes weren't paid on 22 Q. He made a proposal to you for a deal?
23 Brockman for two years? 23 A. Yes.
24 A. No, she didn't. 24 Q. And what was the proposal?
25 Q. When did you first meet or come in contact with 25 A. It was primarily J would loan him money to rent some
Page 50 Page 52
1 Mr. Lupiloff? 1 video t.v. walls.
2 A. I believe that was 2002. 2 Q. Video t.v. walls. I don't know what that is.
3 Q. And how did you come to meet him? 3 A. Think of a billboard and turn it into a television.
4 A. A financial advisor with Merrill Lynch introduced us. 4 Q. Okay. And where were these going to be?
5 Q. And do you recall who that was? 3 A. At the North American Auto Show.
6 A. His name is Charles Stevens. 6 Q. In Detroit?
7 Q. S-T-E-V - 7 A. Correct.
8 A. --E-N-S. J think. 8 Q. Do you know where they were going to be at the North
9 Q. Is he still at Merrill Lynch, if you know? 9 American Auto Show?
10 A. I don't believe so, no. 10 A. In front of Cobo Hall.
il Q. What office was he at? 11 Q. In the hall or outside?
12 A. I believe he was at an office in Birmingham. 12 A. Outside.
13 Q. How was the introduction done for whatever reason? 13 Q. On the street?
14 What do you recall about that? 14 A. Correct.
15 A. I think Charles called me to tell me he met someone 15 Q. Do you know if Mr. Lupiloff had done that type of deal
16 who needed some money for a business venture. 16 before?
17 Q. And do you know why Charles would call you? 17 A. No.
18 A. We were acquaintances. 18 Q. Did you do any checking up on it at all?
19 Q. We being you and Charles, you mean? 19 A. No.
20 A. Correct. 20 Q. What was the investment supposed to be by you?
21 Q. But as far as you being someone -- was he aware that 21 A. What was it supposed to be?
22 you wanted to get into business ventures or something, 22 Q. How much.
23 or what? 23 A. $130,000.
24 A. No. I don't know why he called me. 24 Q. And that was in one or two payments?
25 Q. Had you ever gone in on any deals that he got you 25 A. Two payments.

13 (Pages 49 to 52)

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1 Q. And what were you supposed to get out of it? 1 the money you advanced back by the end of business on
2 A. We were going to split the approximate $500,000 that 2 February 28th, 2003, correct?
3 he estimated was going to be his return. 3 A. I'm looking from where you're reading.
4 Q. Is that a return of actually 630 or just 500, so that 4 Q. Actually, right there.
5 the total would be 500 minus 130 would your total 5 A. Yep.
6 income? 6 Q. And it says — in Paragraph 3, it says, "If by
7 A. The return would have been half of 500, so 7 December 13, 2002, MAD Advertising has not produced
8 approximately $250,000. 8 contracts equal to or exceeding $130,000, MAD
9 Q. Each? 9 Advertising promises to repay 100 percent of all
10 A. Each. 10 advanced ($65,000) to Mr. William Keene within 10
11 Q. But then you've got to take off the 130 you put into 11 calendars days, (December 23, 2002.)" Correct?
12 it, right? 12 A. Um-hum.
13 A. No. 13 Q. That's yes?
14 Q. I'm trying to understand it. The total return from 14 A. Yes.
15 the deal was 500 plus 130? 15 Q. If you look on the last page, it says, "MAD
16 A. No. 16 Advertising also promises to keep the books open
17 Q. The total is 500 to come in. 17 during this investment. MAD Advertising will allow
18 A. (Shakes head.) 18 Mr. Keene and his representative, Charles Stevens,
19 Q. Then you and Lupiloff split the 500, 250 each. 19 full access, including, but not limited to financial
20 A. Correct. 20 commitments relating to the International Auto Show in
21 Q. But you put in 130. 21 Detroit for 2003. Contracts committing MAD
22 A. Yes. 22 Advertising to their clients, to provide them
23 Q. So what you get out of it is 250 minus 130. 23 advertising space on their LED Wall Screens, accounts
24 A. Correct. 24 payable and receivable considering only with the
25 Q. There was an agreement that you signed with him? 25 International Auto Show in Detroit for 2003."
Page 54 Page 56
1 A. Yes. 1 Is that part of the agreement?
2 MARKED FOR IDENTIFICATION: 2 A. Yes.
3 DEPOSITION EXHIBIT 1 3 Q. Did you look at the books as of, going back to the
4 3:19 p.m. 4 first page, as of December 13 to see if there had been
5 BY MR. SCHMIDT: 5 contracts produced?
6 Q. Sir, I'll hand you what's marked as Exhibit |. Is 6 A. I did not look at Mr. Lupiloffs books.
7 that the agreement? 7 Q. You looked at no books, correct?
8 A. That is. 8 A. No.
9 Q. And that's signed by — is that your signature on the 9 Q. Correct?
10 second page? 10 A. Correct.
11 A. Correct. 11 Q. Why not?
12 Q. Do you recognize that Mr. — is Gary Harmon and Gary 12 A. Mr. Lupiloff showed me documentation making me think
13 Lupiloff the same person? 13 that he had contracts in order with some companies
14 A. Yes. 14 that I recognized the names of. And that's what he
15 Q. Is that his signature? 15 showed me.
16 A. That's his signature as I know it. 16 Q. Okay. If you look on that first page, under C it
17 Q. And this Exhibit 1, you've seen this before, 17 says, "If $130,000 has been invested by Mr. Keene to
18 obviously. 18 MAD Advertising, MAD Advertising promises to pay
19 A. Ihave seen it. 19 Mr. Keene in the following manner: An additional
20 Q. And this is the agreement. Is there anything that's 20 $115,000, if paid within 30 days of February 28th,
21 not the agreement that's written on here? Is there 21 2003. The additional $115,000, plus ten percent on
22 anything different about the agreement than what's 22 any remaining balance accumulating every 30 days. If
23 written on here? 23 final payment is not received before July 28th, 2003,
24 A. No, | think this is the agreement he signed. 24 MAD Advertising will be in breach of this agreement
25 Q. So it says you're supposed to get a hundred percent of 25 and Mr. Keene will have the right to seek any and all

14 (Pages 53 to 56)

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1 recourse.” 1 Q. Why would you loan him more money?
2 Do you remember that as part of the 2 A. Gary told me that he was selling his company, and that
3 agreement? 3 if he couldn't pay his salespeople, he couldn't sell
4 A. Yes. 4 his company, and assured me that when he sold his
5 MARKED FOR IDENTIFICATION: 5 company he would pay me back the principal that I had
6 DEPOSITION EXHIBIT 2 6 loaned him.
7 3:23 p.m. 7 Q. Do you have any proof that you loaned Lupiloff $2,500
8 BY MR. SCHMIDT: 8 on 10-6-03?
9 Q. Exhibit 2 is — it says ~ it's December 30, MAD 9 A. I don't think so.
10 Advertising. "We have received $65,000 from William 10 Q. You indicated in your interrogatory answers that —
11 Keene on this date for further funding." 11 you say Lupiloff paid back that $2,500. Do you
12 Is that your signature on there? 12 remember answering those?
13 A. Yes. 13 A. I believe so.
14 Q. That's the second payment, isn't it? 14 Q. Do you have any proof that he paid the money back?
15 A. Correct. 15 A. No, I don't think so.
16 Q. Do you have any proof of the first payment? 16 Q. How did he pay it back?
17 A. I don't know if I have a document to show, except that 17 A. I believe he gave me a check.
18 this one stating this money represents the balance 18 Q. You don't have a copy of the check.
19 due. 19 A. I don't believe I have a check from 2003, no.
20 Q. Do you have a canceled check or any proof at all of 20 Q. How did you pay him the 2,500 bucks?
21 the first payment other than Exhibit, what you just 21 A. I don't remember.
22 said about Exhibit 2? 22 Q. You don't recall if it was cash or a check?
23 A. Ido not. 23 A. Not off the top of my head.
24 Q. Do you have a canceled check or any proof of the 24 Q. Looking through all the documents you produced, there
25 second payment other than Exhibit 2? 25 was no entry in any of your accounts or any bank entry
Page 58 Page 60
1 A. Idon't know. I'll have to look. As a matter of 1 or anything showing a $2,500 check to Lupiloff.
2 fact, I'l look for both. 2 Are you aware of any check to Lupiloff?
3 Q. We already asked for that, It wasn't produced. So you 3 A. Just personally, I know I loaned him the money.
4 recall you've already looked for it. Did you not find 4 Q. Then you say in your interrogatory answers that you
5 it? 5 made a third loan to Lupiloff on July 17, '07 for
6 A. I don't think I have it. 6 6,000 bucks?
7 Q. You have indicated in your discovery responses that 7 A. That sounds about right.
8 you made a second loan to Lupiloff -- I'm sorry, maybe 8 Q. And that's after he's now been five years owing you
9 I should say -- we'll call this deal the first loan, 9 for Exhibit 1. Why would you loan him more money in
10 but then you made a second loan of $2,500 on 10-6-03; 10 July of '07?
11 do you recall doing that? 11 A. I was helping him.
12 A. I believe so. 12 Q. What was helping him this time?
13 Q. And what was that for? 13 A. I don't remember him telling me why he needed it. I'm
14 A. To help Gary. 14 sure it had something to do with his business. And,
15 Q. For what? 15 again, he was working hard to sell his company and
16 A. He needed it to help his business. 16 assured me that he would pay me the principal once the
17 Q. Anything to do with his first deal or something 17 company was sold.
18 totally different? 18 Q. Well, he told you he was selling the company back in
19 A. It was to help his business. He told me it was -- he 19 03.
20 needed some money to help pay his staff, if 1 remember 20 A. Um-hum.
21 Tight. 21 Q. So this is four years later. He's still trying to
22 Q. Okay. That's ten months after he's already way past 22 sell it?
23 paying you all this hundreds of thousands of dollars 23 A. Still trying to sell it.
24 under Exhibit 1, isn't it? 24 Q. So the 2,500 bucks, that was supposed to keep him
25 A. Yes, it is. 25 going for four years?

15 (Pages 57 to 60)

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1 A. No. I think he was just short for that month. 1 A. J understood it was to cover his debt to me.
2 Q. You say in the interrogatory answers that he paid the 2 Q. But it can only cover his debt if he's dead, right?
3 $6,000 back? 3 A. Ifsomething happened to him, correct.
4 A. Yes. 4 Q. So what good does that do you if he's 46 years old and
5 Q. Do you have any proof -- first of all, do you have any 5 in excellent health, how is that a benefit to you?
6 proof that you paid him $6,000? 6 A. It's just an insurance policy, it covers in case of an
7 A. I don't know. 7 accident.
8 Q. Well, nothing you produced, there's no record or bank 8 Q. Well, it only covers if he's dead, right?
9 record or check or any credit card or any reference in 9 A. I think you said that already.
10 what you produced. Are you aware of anything that's 10 Q. But you said an accident. He can't get in an accident
11 in writing to show that you paid him 6,000 bucks? ll and get the money, he's got to be dead, right?
12 A. If you don't have it in your documentation, then I 12 A. Correct.
13 don't have it. 13 Q. You're saying that it was Lupiloffs idea for him to
14 Q. Well, are you aware of anything? 14 get this life insurance policy on his life?
15 A. Not off the top of my head, no. 15 A. Ibelieve so.
16 Q. Are you aware of any proof of Lupiloff paying you the 16 MARKED FOR IDENTIFICATION:
17 $6,000 back? 17 DEPOSITION EXHIBIT 3
18 A. No, I don't believe I have any proof that he paid me 18 3:34 p.m.
19 back. 19 BY MR. SCHMIDT:
20 Q. Do you know how you paid him the 6,000 bucks? Was it 20 Q. Till hand you, sir, what I marked as Exhibit 3. This
21 cash, check, or don't you know? 21 is Defendant, William Keene's, Supplemental Answers to
22 A. I don't know. 22 Interrogatories and Requests to Produce from
23 Q. Did Lupiloff give you any checks to pay off the deal, 23 Nationwide.
24 Exhibit 1? 24 And if you look at the question, it says,
25 A. He did give me a check to pay off part of loan one. 25 "In regard to the purpose of the Nationwide policy, as
Page 62 Page 64
1 Q. And what happened to that? 1 indicated on the New Account/Suitability Form, to
2 A. It was a $20,000 bounced check. 2 provide coverage over an investor loan" —
3 Q. And what did you tell Lupiloff when you got the 3 A. I'm sorry, where are you reading again?
4 $20,000 bad check? 4 Q. (Indicating.)
5 A. I told him it bounced. 5 A. Number 2?
6 Q. Then what? 6 Q. Yes.
7 A. I don't remember. 7 A. Okay.
8 Q. Did you threaten him with any criminal proceedings out 8 Q. "In regard to the purpose of the Nationwide policy, as
9 of that? 9 indicated on the New Account/Suitability Form, ‘to
10 A. No. 10 provide coverage over an investor loan for capital
11 Q. When you told him it bounced, what did he say? 11 purchase.’ Please state with factual precision.
12 A. He assured me that he would pay me my investment back 12 Please state how the policy was to provide
13 with proceeds from the Woodward Dream Cruise that was 13 coverage over an investor loan for capital purchase.”
14 six months later. 14 "ANSWER: The capital loan was for $130,000
15 Q. When did the idea or the issue of buying a life 15 and was to cover the $245,000 that was to be paid by
16 insurance policy come up? 16 MAD Advertising. William Keene loaned $130,000 to
17 A. Idon't know. 17 Gary Lupiloff, which Lupiloff received as MAD
18 Q. Who brought that idea up? 18 Advertising. Lupiloff originally agreed to repay the
19 A. Gary brought it up. 19 loan, but when he failed to do so, Keene offered to
20 Q. And how did he bring it up to you? 20 purchase a life insurance policy that is at issue.”
21 A. I don't remember exactly what was said, he just said 21 Is that answer incorrect or correct?
22 he would give me a life insurance policy. 22 MR. BREDELL: Well, you asked whose idea it
23 Q. Well, what was the rationale for that? 23 was, you didn't ask about who purchased it. That's a
24 A. You'd have to ask Gary. 24 different question.
25 Q. Well, what did you understand the rationale to be? 25 BY MR. SCHMIDT:

16 (Pages 61 to 64)

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1 Q. It says in the answer, "Keene offered to purchase the 1 Q. Allright. If we look at this Exhibit 3, answer to
2 life insurance policy that is at issue." 2 2-A, starting with that last sentence, it says,
3 Is that correct or not? 3 "Lupiloff originally agreed to repay the loan," and
4 A. Mr. Schmidt, you have to be a little more specific 4 you said that's correct.
5 with regard to your question. 5 A. Um-hum.
6 Q. Okay. I read you the question in the interrogatory 6 Q. Correct?
7 and I read you the answer. The question -- if you 7 And then he failed to do so, and you said
8 want me to read it again, Jl! read it to you, but 8 that's correct.
9 it’s right in front of you. There's the question, 9 A. Um-hum.
10 2-A, and there's the answer. 10 Q. Correct? You have to say yes.
11 A. Um-hum. 11 A. Yes. I'm sorry.
12 Q. It says, "Lupiloff originally agreed to repay the 12 Q. And then it says, "Keene offered to purchase the life
13 loan, but when he failed to do so Keene offered to 13 insurance policy that is at issue.”
14 purchase the life insurance policy that is at issue.” 14 That's what's written down there, correct?
15 Is that true or false? 15 Did J read that right, "Keene offered to purchase the
16 A. Well, I did offer to pay -- no, that's not correct. 16 life insurance policy that is at issue"?
17 Q. And what's not correct about it? 17 A. Mr. Schmidt, you have read that paragraph correctly.
18 A. Mr. Lupiloff took out the policy. He paid for the 18 I am not arguing with it. | think I've made myself
19 policy for a number of years, and when he could not 19 very clear that there is a gap in time. I did pay for
20 pay the policy any more, he asked me to pay the 20 the life insurance policy when Gary called me and
21 premiums, which is offered to purchase the life 21 said, "Bill, I can no longer pay the premium.” So my
22 insurance policy that's at issue. 22 statement is correct and your statement is correct.
23 Q. Okay. What you just said is not what's written down 23 Q. Okay. Just for the record, it's not my statement,
24 on Exhibit 3, is it? Exhibit 3 says nothing about -- 24 it's --
25 A. No. 25 A. lunderstand that, but what you are reading.
Page 66 Page 68
1 Q.  -- Lupiloff coming up with the idea and Lupiloff 1 Q. We both can't talk at once.
2 paying for it and then sometime later you started to 2 Exhibit 3 is your answer to Nationwide's
3 pay for it, the answer to 2, sub A, on Exhibit 3 says, 3 interrogatory. That's your answer. And I'm not here
4 "The capital loan was for $130,000 and was to cover 4 to argue --
5 the $245,000 that was to be paid by MAD Advertising. 5 A. Yes.
6 William Keene loaned $130,000 to Gary Lupiloff.” 6 Q. And I'm not here to argue with you, I'm just asking a
7 Okay. That's correct so far, isn't it? 7 question about it.
8 A. That's correct. 8 You mentioned this gap in time. There's no
9 Q. And then it says, "Which Lupiloff received as MAD 9 mention of any gap in time in this answer, is there?
10 Advertising.” 10 A. To answer your question, no, there's no phrase that
11 That's correct, isn't it? 11 says "gap in time.”
12 A. Yes. 12 Q. Okay. Now, I'll hand you this. This was marked as
13 Q. It says, "Lupiloff originally agreed to repay the 13 Reich Exhibit Number 1. And if you look at that first
14 loan.” 14 page, it's entitled, "New Account/Suitability Form."
15 Is that correct? 15 Do you see that?
16 A. That is correct. 16 A. Yes.
17 Q. Then it says, "But when he failed to do so, Keene 17 Q. Have you seen this document before?
18 offered to purchase the life insurance policy that is 18 A. Ihave never seen this document before.
19 at issue." 19 Q. On the first page and the bottom -- or I should say on
20 Is that correct or not? 20 the first page at the top, it says,
21 A. Mr. Schmidt, there's a time between when one thing 21 "Owner/custodian/trustee; first, MI, last, Gary Harmon
22 happened and when another thing happened. The 22 Lupiloff.”
23 Statement is true, but there’s a gap in time. So what 23 Do you see that?
24 I'm saying is correct and what you are saying is 24 A. Ido.
25 correct. 25 Q. And then it's got, down further, it says, "Employer

17 (Pages 65 to 68)

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1 name, MAD Advertising and Marketing.” 1 Q. The amount that you loaned him totally was 65,000 plus
2 Do you see that? 2 65,000; is that correct?
3 A. Yes. 3 A. That's correct.
4 Q. Okay. And then underneath it, it says, "Financial 4 Q. Okay. Are you aware of any other debt that
5 Information.” 5 Mr. Lupiloff bad other than to you on Exhibit 1?
6 Do you see that? 6 A. I never saw any paperwork that Gary showed me that he
7 A. Yes. 7 had any other debt, but in the times that we spoke, he
8 Q. And it says -- annual income it's checked off, 50 to 8 said that there were, he had other debts.
9 $100,000. 9 Q. If we look back at Reich Exhibit Number 1, it says --
10 Do you see that? 10 do you see where it says, "Total need, $500,000"?
11 A. Ido. 11 A. Yes. Under Life Insurance Needs Analysis?
12 Q. Do you know if that's correct or not? 12 Q. Yes. And then it says, "Remaining need, $500,000."
13 A. Thave no idea. 13 Do you see that?
14 Q. Okay. And then below that, it says, "Net worth, 14 A. Yes.
15 excluding residence, $500,000." 15 Q. There's an asterisk in front of each of those 500,000.
16 Do you see that? 16 Do you see that?
17 A. Ido. 17 A. Yes.
18 Q. Do you know if that's correct or not? 18 Q. And then below, in the box with the asterisk, it says,
13 A. Ihave no idea. 19 "To provide coverage over an investor loan for capital
20 Q. And I guess, to be fair, I should have said the date 20 purchases."
21 of this. So if you look on the fourth page, it's 21 Do you see that?
22 signed by Mr. Lupiloff on 11-11-03. 22 A. Yes.
23 Do you see that? Let me show you the right 23 Q. Do you know what that's referring to?
24 page. Do you see that? 24 A. No.
25 A. 11-11-03. 25 Q. When you discussed with Mr. Lupiloff that, there was
Page 70 Page 72
1 Q. Okay. So going back to the first page, do you know if 1 no discussion that he was going to -- that there was
2 Lupiloff had income of 50 to $100,000 as of 11-11-03? 2 going to -- obtaining this Nationwide policy had
3 A. Mr. Schmidt, J have no idea. 3 something to do with the loan that you gave to him?
4 Q. And do you know if he had net worth, excluding 4 A. Well, that's what he told me he was taking the policy
5 residence, of $500,000 as of 11-11-03? 5 out for.
6 A. No idea. 6 Q. Okay. If you flip to the last page of Reich Exhibit
7 Q. And do you know if he had a liquid net worth of 7 Number 1.
8 $75,000 as of 11-11-03? 8 A. This page?
9 A. Thave no idea. 9 Q. Yes, sir.
10 Q. And then if you look on the next page, it says the 10 MR. BREDELL: Can you read that? Is that
11 section Life Insurance Analysis. 11 clear?
12 Do you see that? 12 A. I think I can read it.
13 A. Yes. 13 BY MR. SCHMIDT:
14 Q. It says total debt, $500,000. 14 Q. It says -- it's dated November 12th, 2003. It says
15 Do you see that? 15 Summary Sheet.
16 A. Correct. 16 Do you see that?
17 Q. Allright. The total debt that you're aware of was 17 A. Yes.
18 $130,000, correct? 18 Q. It says, "Purpose of policy is business related.
19 A. I don't know what Gary's total debt was. 19 Gary's company, MAD Advertising and Marketing, has
20 Q. But the total debt, I asked you the total debt that 20 borrowed a sum of money for capital and the investor
21 you were aware of, per Exhibit 1, you loaned him 21 is requesting Gary to carry this policy to protect the
22 $130,000. 22 loan repayment in the event of Gary's demise.”
23 A. Mr. Schmidt, this debt is for 245,000, plus ten 23 Is that phrase that says, "Gary's company,
24 percent on any remaining balance accumulating every 24 MAD Advertising, has borrowed a sum of money for
25 30 days. 25 capital and the investor is requesting Gary to carry

18 (Pages 69 to 72)

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1 this policy to protect the loan repayment in the event 1 Q. The question is: Was it your understanding that the
2 of Garry's demise," is that correct or not? 2 policy was being taken out to protect the loan
3 A. Are you asking me that that's what this document says? 3 repayment in the event of Gary's demise?
4 Q. No, I'm asking you if that is tue, that Gary's 4 A. Yes, I believe Gary took the policy out to protect the
5 company had borrowed -- did Gary's company borrow a 5 debt that he owed to me.
6 sum of money from you? 6 Q. That purpose does not benefit -- what benefit does
7 A. Yes, he did. 7 that purpose give to Gary?
8 Q. Okay. And as the investor, did you request Gary to 8 A. You'd have to ask Gary.
9 carry the policy to protect the loan repayment in the 9 Q. The person who gets the benefit from that is you. If
10 event of his demise? 10 he dies, you get $500,000, correct?
11 A. Mr. Schmidt, I've never seen this document before, so 11 A. That's correct.
12 I have no idea what you're asking me. I don't know 12 Q. So the only person who gets a benefit from this
13 what this is about. I don't know this document. 13 transaction of buying this life insurance policy, it
14 Q. This is a document submitted by the Nationwide agent, 14 would be you only if Gary dies; is that correct?
15 Mary E. (Betsy) Reich, to issue the Nationwide policy 15 A. I believe so.
16 that this lawsuit is all about. And on it it says 16 Q. Then it says, "The initial loan amount was for more
17 what I'm reading you, it says — and J'm not asking 17 than $500,000, yet the amount has now decreased to
18 you if you saw it. You've already told me you didn't 18 approximately this amount at this time.”
19 see it before, so ] understand that. 19 Is that correct or not?
20 I'm just asking you, from this language, it 20 A. .Mr. Schmidt, I didn't write this, but I don't know
21 says, "Gary's company, MAD Advertising and Marketing, 21 exactly what the initial loan amount is that we're
22 has borrowed a sum of money for capital." 22 talking about. The initial loan amount -- the
23 Now, you agree Gary's company, MAD 23 investor is listed as me, but I didn't write this.
24 Advising, borrowed a sum of money from you. 24 Q. lLunderstand you didn't write this.
25 A. Yes, they did. 25 A. So there might be more than one investor that Gary
Page 74 Page 76
1 Q. Then the next part says, "And the investor is 1 owed money to. I don't really know.
2 requesting Gary to carry this policy to protect the 2 Q. Are you aware of anybody that this policy concerned
3 loan repayment in the event of Gary's demise." 3 other than you? There's no other beneficiary named
4 My question is, did you, as the investor, 4 other than you, correct?
5 request Gary to carry the policy to protect the loan 5 A. Well, at the time he took it out I believe his
6 repayment in the event of Gary's demise? 6 daughters were listed as --
7 A. No. 7 Q. Contingent.
8 Q. If the policy was not being purchased to protect the 8 A. -- contingent.
9 loan repayment in the event of Gary's demise, what is 9 Q. You were the first beneficiary, correct?
10 it being purchased for? 10 A. Correct.
11 MR. BREDELL: That's a different question 11 Q. So if Mr. Lupiloff died, you're the first one in line.
12 you're asking him. You're asking him why as opposed 12 A. That's correct.
13 to whose idea it was. 13 Q. Allright. So my question is, once again I'm not --
14 BY MR. SCHMIDT: 14 A. T understand.
15 Q. Is it your understanding that the purpose of the 15 Q. -- saying you seen this before, I'm just asking you,
16 policy was to protect the loan repayment in the event 16 this sentence, "The initial loan amount was for more
17 of Gary's demise? 17 than $500,000." Is that true or not?
18 A. I don't know why Mr. Lupiloff took out the policy. He 18 A. I don't believe that was true.
19 took the policy out, so -- 19 Q. Okay. And then the second part of it, it says, "Yet
20 Q. J think we discussed earlier, you said there was 20 the amount has now decreased to approximately this
21 discussions about him taking out the policy to protect 21 amount at this time."
22 the investment in the event that Gary died. 22 That's not true either, is it?
23 Wasn't that your understanding? 23 A. In my understanding, that doesn't seem to be true.
24 A. I think you're going to have to rephrase that because 24 Q. It's wrong.
25 I'm not following you a hundred percent. 25 A. I didn't write this, so --

19 (Pages 73 to 76)
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1 Q. Tunderstand that. 1 A. Never.
2 A. and I don't the legalese of whoever wrote this. So 2 Q. I'm going to hand you what was previously marked as
3 I don't know if there's more to this document. 3 Reich Exhibit Number 3.
4 Q. I'm just asking you what's written there. 4 This is an application for a life insurance
5 It says, "The investor, William Keene, will 5 policy submitted by Mr. Lupiloff. Do you see his name
6 show as the primary beneficiary, with the verbiage 6 on the first page there?
7 ATIMA, with the balance of death benefit at any time 7 A. Ido.
8 to go to the secondary beneficiaries, which are Gary's 8 Q. Okay. And if you look on the last page, it's signed
9 daughters.” 9 by Mr. Lupiloff on 11-11-03?
10 Is that your understanding of what the 10 A. It looks like his signature, yes.
11 policy was supposed to do? 11 Q. If you look on Page 3, which at the bottom has 0239 at
12 A. IJ don't know what ATIMA stands for. 12 the bottom of it.
13 Q. As their interest may appear. 13 A. Um-hum.
14 A. I'm sorry, I don't understand what that phrase means. 14 Q. It's got down, "Beneficiary, William Keene/ATIMA.”
15 Q. Allright. As far as the part, "The investor, William 15 Do you see that?
16 Keene, will show as the primary beneficiary,” you 16 A. Yes.
17 understand that was correct? 17 Q. And then it says, "Relationship to insured, partner
18 A. Correct. 18 (business)." Do you see that?
19 Q. And it says, "The balance of the death benefit to go 19 A. Ido.
20 to the secondary beneficiaries, which are Gary's 20 Q. Js that correct? .
21 daughters," was that your understanding? 21 A. I don't know what my title would be.
22 A. It wasn't to my understanding, because I've never seen 22 Q. Would you consider yourself as a business partner of
23 this document before. 23 Lupiloff?
24 Q. You were aware, when the policy was issued, that you 24 A. I don't know what I would designate as my title.
25 were the primary beneficiary, correct? 25 Q. Well, is partner (business) wrong or right?
Page 78 Page 80
1 A. That's what I was told. 1 A. I didn't write this, so I don't know if it's nght or
2 Q. And you were aware of the policy issued that 2 wrong.
3 Lupiloff's daughters were the contingent 3 Q. Itsays, "William Keene/ATIMA." You asked me about
4 beneficiaries. 4 that before.
5 A. Yes. 5 Do you recall discussions made that the
6 Q. "William Keene is paying the first estimated quarterly 6 policy would pay you whatever — if Lupiloff died, the
7 payment to buy the policy." Is that correct? 7 policy would pay you whatever Lupiloff owed you at the
8 A. | don't really remember if that's the case. 8 time and the rest of the money would go to the
9 Q. Pardon me? 9 contingent beneficiaries; do you recall any discussion
10 A. I don't remember if] paid it. 10 about that?
11 Q. Did you meet this Mary Betsy Reich at the time this 11 A. I don't remember ever having any sort of discussion
12 policy was issued? 12 about that.
13 A. I don't remember. 13 Q. Okay. On that Page 3, Page 0239, it has down as — it
14 Q. I'll show you what we've marked as Reich Exhibit 2, 14 has the name of Monica Lynne Lupiloff, do you see
15 it's a two-page document. Have you ever seen that 15 that, daughter?
16 before? 16 A. Yes.
17 A. I don't remember ever seeing this document. 17 Q. And Nicole Renee Lupiloff, daughter?
18 MR. DANZIG: What's it entitled? 18 A. Yes.
19 MR. BREDELL: New Accounts/Suitability Form 19 Q. And you were aware at the time of the policy that they
20 Addendum. 20 were going to be contingent beneficiaries?
21 BY MR. SCHMIDT: 21 A. Yes.
22 Q. And attached to it is a copy of Mr. Lupiloffs 22 Q. If you look on the next page, Page 4, it says —
23 driver's license; is that correct? 23 there's some questions there, personal information.
24 A. That's what it looks like. 24 Question number F, "Have you ever been charged with a
25 Q. But you've never seen that before? 25 violation of any criminal law," and he checked that

20 (Pages 77 to 80)

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1 yes; do you see that? 1 A. Correct.
2 A. Yes. 2 Q. But the one that's answered yes, he's got a note at
3 Q. And it says F, and undermeath it it says, "Gary Harmon 3 the bottom for 16-A, and it says, "Dr. L. Scott --
4 Lupiloff, 1998 federal bank fraud, one count.” 4 A. Grant.
5 Do you see that? 5 Q. -- "Grant, check-up and prescription for cough.”
6 A. Ido. 6 Do you see that?
7 Q. Were you aware of that at that time? 7 A. Yes.
8 A. No, I wasn't. 8 Q. So you've never seen this document before, correct?
9 Q. When did you first become aware of that? 9 Or have you?
10 A. After Gary was shot. 10 A. I believe it was in a set of documents that came to my
11 Q. And how did you find out? 1i attorney's office.
12 A. It was on the television. 12 Q. So after this lawsuit was filed.
13 Q. So you first saw it by seeing it on t.v. after he was 13 A. After the lawsuit, yeah.
14 killed? 14 Q. But this information that we just went through, where
15 A. Yes, I believe so. 15 Lupiloff is saying he's got no health problems at all
16 Q. And then if you look at above there, small G, it has, 16 and that he's 46 years old at the time this policy is
17 "Have you had any bankruptcies in the past seven years 17 being issued, do you have any information that's to
18 or have any suits or judgements pending,” that's 18 the contrary to that?
19 checked yes; do you see that? 19 A. No.
20 A. What letter again? 20 Q. Do you have any information that he wasn't 46 years
21 Q. F. Im sorry, G. 21 old?
22 A. Okay. 22. A. No.
23 Q. Allright. And then at the bottom it says, "Gary 23 Q. Do you have any information that he had any health
24 Harmon Lupiloff, 2001, Civil Action 01-036655-CZ, 24 problems?
25 settled." 25 A. No.
Page 82 Page 84
1 Were you aware of any suits against him? 1 Q. As far as you know, he was in perfect health.
2 A. No, I wasn't. 2 A. We never talked about his health.
3 Q. And then on the next page, Page 5, it's got answers to 3 Q. Well, were you aware of anything that he was not in
4 a bunch of medical questions, and Lupiloff answered 4 perfect health?
5 all of those in the negative. Do you see all those? 3 A. No.
6 Whether he had AIDS, whether he had heart disease, 6 Q. I'm going to show you, this is Reich Exhibit Number 4.
7 headaches, seizures, epilepsy, asthma, emphysema, 7 That's the policy.
8 colitis, ulcer, sugar problems, diabetes, cancer, 8 A. Um-hum.
9 arthritis, alcoholism, any disease or disorder of the 9 Q. Have you ever seen the policy before, sir? This is —
10 eyes, ears, nose or throat; do you see those are all 10 that's a bad question.
11 answered no? 11 For the record, this is the Nationwide
12 A. Isee they're all no except this one, 16-A. 12 Guaranteed Term Life Insurance Policy issued to Gary
13 Q. Yes, we'll get down to that. 13 Lupiloff on November 11th, 2003.
14 Then the next section, we've got 16-A, 14 Have you seen this before?
15 there's four questions, and the first one, "Have you 15 A. Mr. Schmidt, I have seen this, { received it after
16 consulted or have you been examined by a physician, 16 Gary was shot.
17 chiropractor or medical practitioner or been in any 17 Q. So the first time you ever saw it was after — after
18 hospital,” and the answer to that one is "yes." 18 Lupiloff's death.
19 Do you see that? 19 A. That's right.
20 A. Yes. 20 MR. DANZIG: Is that Exhibit 4 from Reich?
21 Q. And the other three under that, had any diseases or 21 MR. SCHMIDT: It's Exhibit 4 from Reich.
22 operation not disclosed, any x-rays, 22 MR. DANZIG: Thank you.
23 electrocardiograms not disclosed, been medically 23 BY MR. SCHMIDT:
24 advised to have any surgery, ablation, those are all 24 Q. Ifyou look, sir, on Page — at the bottom, there's
25 answered no, correct? 25 Bates numbers, Page 303 in the bottom right corner.

21 (Pages 81 to 84)

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1 A. Yes. 1 estate salesperson, as of November of 2003 would you
2 Q. That says that the owner, Gary Lupiloff; do you see 2 have any understanding that it would make any business
3 that? 3 or economic sense whatsoever to have a policy like
4 A. Yes. 4 this in effect for somebody who's 46 years old and in
° Q. Age of insured 46; do you see that? 5 perfect health?
6 A. Yep. 6 A. Mr. Schmidt, I've never seen this document, so I had
7 Q. Premium annual $1,030? 7 no idea at all that the premiums were ever going to
8 A. Yes. 8 increase more than the thousand or so dollars that it
9 Q. And then it says, at the bottom it says, "Ten year 9 cost.
10 level guaranteed term life insurance to age 95, $1,030 10 Q. Okay. As of going back to November of 2003, not as of
11 payable to the year 2013." 11 today, but what you knew then, did you know what a
12 Do you see that? 12 term life policy was versus a whole life policy?
13 A. Yes. 13 A. I had a general idea.
14 Q. Was it your understanding that the policy would cost 14 Q. Allright. Do you know that a term life policy is one
15 $1,030 per year from the date it was issued in 2003, 15 that's going to have initially real cheap premiums,
16 for ten years until 2013? 16 but then after a certain number of years the premiums
17 A. No. 17 go way, way up higher?
18 Q. You weren't aware of that? 18 A. I never thought about it.
19 A. I wasn't aware of it. 19 Q. Were you aware that that's what existed at that time?
20 Q. Ifyou look on Page 304, that's a listing of -- do you 20 A. Are you asking me if 1 was aware of Mr. Lupiloffs
21 see where it says policy year age, guaranteed premium; 21 policy?
22 do you see that? 22 Q. No. I'm asking you if back in November of 2003, if
23 A. Yes. 23 you were aware that there was such a thing out there
24 Q. And do you see the first ten years is $1,030 per year? 24 as a term insurance policy that you could buy for a
25 A. Yes. 25 relatively cheap amount of money, for someone who's,
Page 86 Page 88
1 Q. And then it goes up to, in year 11, it goes up 11 1 you know, even up to their mid 40's or mid 50's, but
2 times to 11,8007 2 it's only going to be cheap for a limited period of
3 A. Yes. 3 time, maybe five or 10 or 15 years, and from then the
4 Q. And then it keeps going up after that; do you see 4 premiums go way, way up; were you aware of that?
5 that? 5 A. No idea.
6 A. Yes. 6 Q. Did you have any life insurance back in 2003?
7 Q. Do you know what Mr. Lupiloff's life expectancy was 7 A. No.
8 when he was age 46? 8 Q. Have you ever had life insurance?
9 A. Mr. Schmidt, I'm not in the insurance business so I 9 A. Ido now.
10 have no idea. 10 Q. When did you first get life insurance?
1i Q. Just assume, for the sake of my question, that his 11 A. Three years ago.
12 life expectancy, when he was 46, was 77 years. 12 Q. Is it a guaranteed — I'm sorry, is it a term policy
13 A. Yes. 13 or a whole life policy?
14 Q. And assuming, if you add up all those numbers from 14 A. Itis a term policy.
15 year one to year 32, do you have any idea what it 15 Q. Okay. Now, I'm not asking you -- you've said you
16 would cost to pay the premiums for that policy for his 16 don't know anything about this policy and hadn't seen
17 expected life when it was issued? 17 it until after Mr. Lupiloff was dead. But I'm asking
18 A. No. 18 you as a business college graduate, business person,
19 Q. If] told you that number would be $915,515, would 19 real estate person, as of 2003 would it make any
20 that shock you? 20 economic sense whatsoever for someone to have a term
21 A. No. 21 policy like this, for someone who's age 46 and in
22 Q. Why not? 22 perfect health, and continue paying premiums on that
23 A. Because J had seen this document after Gary was shot 23 until the person is to their expected life expectancy
24 and I see how much it would cost in premiums. 24 or they die at 77 years old?
25 Q. Asa business person, as a college grad, as a real 25 A. I've really never given it any thought.

22 (Pages 85 to 88)

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Page 89 Page 91
1 Q. So you don't think that paying 915,000 for a $500,000 1 someone to buy a life insurance policy and my answer
2 policy is okay or not? 2 was absolutely.
3 MR. BREDELL: Weil, objection. You're 3 Q. That's not what ] asked you, sir. My question was
4 asking him what he knew then and he's told you he 4 based on your experience in November of 2003, does it
5 didn't know that, so your question is unfair. It's 5 make economic sense to buy a term life policy, with a
6 like are you still beating your wife. I mean, he said 6 $500,000 face value, for someone who's 46 years old
7 he didn't know that. And now you've imputed the 7 and in perfect health, with a policy that's intended
8 knowledge to him and now you're asking him if it makes 8 to protect a loan of $500,000, when the person is in
9 any sense. 9 perfect health, and in order to keep that policy in
10 Do you know want to know whether it made 10 effect for an expected life expectancy will cost
11 sense then or —- 11 $915,000; based on each one of those facts, don't
12 MR. SCHMIDT: No, I'm asking him a 12 discard any one of those, but for each one of those
13 different question. He said he didn't know about the 13 facts do you feel that it makes any economic sense or
14 term policy, and now I'm asking him based on the fact 14 not?
15 that a term policy would cost $915,000 to go toa 15 A. [really don't know how to answer that question.
16 46-year-old's expected life expectancy, do you feel 16 Q. And why don't you know how to answer that?
17 that would make any economic sense whatsoever. 17 A. Because it seems to me like there are too many
18 MR. BREDELL: With what he knows now. 18 variables that you are asking.
19 MR. SCHMIDT: No, no, with what he knew 19 Q. Tell me the variable that you want to eliminate.
20 then. 20 A. If you were to -- sorry, Mr. Schmidt, I don't -- I
21 MR. BREDELL: Well, he didn't know that 21 can't help with your question. I'm not following your
22 then. You said would it make sense to pay $900,000 22 question.
23 for a $500,000 policy, but he didn't know that then. 23 Q. Okay.
24 MR. SCHMIDT: First of ail, ] object to 24 A. You're asking me a question about economics and is
25 your speaking objection. I'm not arguing with you. 25 life insurance a good idea or a bad idea. I'm sorry,
Page 90 Page 92
1 BY MR. SCHMIDT: 1 I don't know the answer to that.
2 Q. What my question is — this is a separate and new and 2 MR. DANZIG: Michael, whenever you're ready
3 distinct question from the prior question. 3 to move on to a different subject, can we stop fora
4 Based on your experience in 2003, would it 4 second?
5 make any economic sense to buy a term policy for 5 MR. SCHMIDT: Sure. We can stop right now.
6 someone who's 46 years old and in perfect health, with 6 (Off the record at 4:16 p.m.)
7 no health conditions, to buy a term policy that's 7 (Back on the record at 4:33 p.m.)
8 going to cost $915,000 for that person's expected life 8 MARKED FOR IDENTIFICATION:
9 expectancy? 9 DEPOSITION EXHIBIT 4
10 A. My thought, Mr. Schmidt, is it's a very intelligent 10 4:33 p.m.
il thing for Mr. Lupiloff or anyone to buy life insurance 11 BY MR. SCHMIDT:
12 depending on what their needs are. 12 Q. Sir, Ml hand you Exhibit 4.
13 Q. That's not my question. My question is a specific 13 A. Okay.
14 question, it was does it make any economic or business 14 Q. Have you seen that before?
15 sense, for someone with your understanding in November 15 A. Okay.
16 of 2003, for a 46-year-old person to buy a term 16 Q. Does that refresh your memory that you paid the first
17 policy, for the $500,000 face value, the person is in 17 premium payment on 11-12-03 for $200 to Nationwide?
18 perfect health, and it's supposed to be to guarantee a 18 A. That would make sense, yeah.
19 loan, when the premiums are going to cost $915,000 for 19 Q. That's your check, right?
20 that person's expected life expectancy? 20 A. Yeah, that's my check, that's my wniting.
21 A. Absolutely. 21 Q. It's made out to Nationwide, at the bottom left corner
22 Q. And why is that? 22 it says for — I can't read that - Gary Harmon?
23 A. I think every situation is going to be different, so I 23 A. Yeah, for Gary Harmon.
24 don't know how to answer your question. You asked me 24 Q. Now, just so we get this straight on the record, Gary
25 a question, if ] thought it was a good idea for 25 Harmon is that another name for Gary Lupiloff?

23 (Pages 89 to 92)

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Page 93 Page 95
1 A. Correct. 1 Q. To your knowledge, Lupiloff agreed to change the
2 Q. Do you recall that you paid the first premium? 2 beneficiary?
3 A. Well, J don't know if the $200 covers the whole 3 A. He must have.
4 premium, but I paid $200. 4 Q. Ifyou look on that document to Page 175.
5 Q. Towards the first premium? 5 A. Yes.
6 A. Um-hum. 6 Q. Thai's a change of — Application for Designation of
7 Q. That means yes? 7 Owner and/or Contingent Owner; do you see that?
8 A. Yes. 8 A. Yes.
9 MARKED FOR IDENTIFICATION: 9 Q. And you mentioned a few minutes ago that you became
10 DEPOSITION EXHIBIT 5 10 the owner?
11 4:34 p.m. 11 A. Yes.
12 BY MR. SCHMIDT: 12 Q. And is that your signature on that document, 175 at
13 Q. I'l hand you Exhibit 5, sir. If you look at the 13 the bottom left?
14 second page of it, it's entitled, "Application for 14 A. Yes.
15 Change of Beneficiary Designation.” 15 Q. Is that Mr. Lupiloff's signature?
16 Do you see that? 16 A. Yes.
17 A. Ido. 17 Q. And that's based on what you said before, is you were
18 Q. And that's a three-page document? 18 paying the premiums?
19 A. I don't know how many pages it is. 19 A. Correct.
20 Q. Well, Page 170 is the first page of it, 171 is the 20 Q. So you wanted to be the owner?
21 second and 172 is the third. 21 A. Correct.
22 A. Okay. 22 Q. Why were you paying the premiums?
23 Q. Do you see that? 23 A. Gary called me and said he couldn't afford the policy
24 A. Yes, I see it. 24 any more and wanted to know if I wanted to take
25 Q. Do you recall there being a change of beneficiary for 25 ownership of it.
Page 94 Page 96
1 the policy? 1 Q. Is the effective date of this April -- this document,
2 A. Ido. 2 changing ownership, is signed April 4, '07.
3 Q. And as you understand it, the beneficiary, you 3 Do you see that?
4 remained as the primary beneficiary and your wife 4 A. Ido see that.
5 became the contingent beneficiary? 5 Q. Let me show you this document. Why don't we mark
6 A. That's right. 6 this.
7 Q. In place of the two Lupiloff daughters? 7 MARKED FOR IDENTIFICATION:
8 A. That's right. 8 DEPOSITION EXHIBIT 6
9 Q. And why was that? 9 4:38 p.m.
10 A. At this time I became the owner of the policy. And I 10 BY MR. SCHMIDT:
11 figured if I'm going to pay for it, I might as well 11 Q. Exhibit 6 is a letter from Nationwide to you, and that
12 put my wife down as the contingent beneficiary. 12 says -- it's dated June 18, '07. It says, "The
13 Q. Okay. And if you look on that document, Page 170, 13 ownership designation form signed on April 7, '07 has
14 it's got, "Full name, William Keene. Relationship to 14 been recorded with our home office, effective the date
15 insured, business. Relationship on file." 15 it was signed by the previous owner."
16 Do you see that? 16 So do you recall receiving that letter?
17 A. Yeah. 17 A. I don't recall it.
18 Q. Okay. Do you recall that discussion with the agent 18 Q. Do you have any information that that's incorrect,
19 about the fact that your relationship to Lupiloff was 19 that you became the owner of the policy as of 4-7-07?
20 that you had a business relationship, was how you were 20 A. Ibelieve I may have gotten this letter, it looks
21 related to the policy? 21 familiar, but -- and I had, I believe ] had this in my
22 A. Yes. 22 file.
23 Q. If you look on Page 171, if you know, is that 23 Q. Okay. But, I mean, this letter --
24 Lupiloff's signature? 24 A. Yes.
25 A. I believe so. 25 Q. -- this letter, Exhibit 6, is saying that as of

24 (Pages 93 to 96)

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Page 97 Page 99
1 4-7-07, you, William Keene, became the owner of that 1 A. No.
2 policy. 2 Q. What did you understand you were paying?
3 Do you have any information to the 3 A. I thought I was going to be paying $1,000,
4 contrary? 4 approximately, a year up until Gary passed away.
5 A. No. 5 Q. And who told you that?
6 MARKED FOR IDENTIFICATION: 6 A. Nobody. That's what I assumed.
7 DEPOSITION EXHIBIT 7 7 Q. Did you get a copy of the policy?
8 4:40 p.m. 8 A. Ionly got a policy after Gary was shot.
9 BY MR. SCHMIDT: 9 Q. Did you ever ask anybody what their premiums were?
10 Q. I'm going to show you Exhibit 7. Sir, that's that 10 A. No.
11 6-21-07 letter from Nationwide to you? 11 Q. How did you have this number that you assumed what it
12 It says, "The ownership designation form 12 was?
13 signed on 4-7-07 has been recorded with our home 13 A. When I received the bills in the mail every six
14 office effective the date it was signed by the 14 months, it’s listed on the bill.
15 previous owner. Attached is the copy of the transfer 15 Q. According to your interrogatory answer, you said
16 of ownership form that we have recorded. Please 16 that -- we asked you how many of these premium
17 accept this letter as confirmation that it has been 17 payments you made. In response to Interrogatory
18 recorded.” 18 Number 6, you said, "It is Mr. Keene's memory that he
19 Do you see that? 19 made two, possibly more payments on a policy while the
20 A. Ido. 20 policy was still in Mr. Lupiloff's name. Mr. Keene is
21 Q. Do you recall getting that? 21 checking his bank records to try to locate these
22 A. I don't recall getting it. 22 payments."
23 Q. That's the same information that you were given in 23 Does that sound right to you, that you
24 Exhibit 6, that as of 4-7-07 you're the owner, right? 24 might have made two before you changed over?
25 A. Yes. 25 A. Yes, | remember helping Gary pay his policy amount,
Page 98 Page 100
1 MARKED FOR IDENTIFICATION: 1 but I don't remember how many. I thought maybe I may
2 DEPOSITION EXHIBIT 8 2 have paid a second one, but I have not found any
3 4:41 p.m. 3 records to show that.
4 BY MR. SCHMIDT: 4 Q. Allright. And then as of this October — well, you
5 Q. Tl hand you Exhibit 8, sir. That's a 10-9-07 letter 5 took over in April of 07. After that time you paid
6 from Nationwide to you, and it says, "Please accept 6 every premium, correct?
7 this letter as confirmation that the payor on the 7 A. Yes.
8 above life policy has updated to the policy owner, 8 Q. Up until Mr. Lupiloff died.
9 William Keene." 9 A. That's correct.
10 Do you see that? 10 Q. And you were paying $272.95 per quarter; does that
11 A. Yes, I do. 11 sound right?
12 Q. And you agree that is correct, that you knew as of 12 A. That sounds about right.
13 10-9-07 you were paying the premiums? 13 Q. And your testimony is, you're saying you weren't aware
14 A. I believe I do. 14 that that premium was ever going to change?
15 Q. Do you know what the premiums were? 15 A. No, I didn't think it was ever going to change. I
16 A. Ithink they were 400 and some dollars every six 16 figured if I had to pay 30 years of payments, and it
17 months. 17 was going to cost me 30 grand over 30 years for that
18 Q. Reich Exhibit 4 is the policy. Page 304, that lists 18 sort of a return, I thought that was a good business
19 the premiums. As of 10-4-07 you were paying the 19 investment.
20 premiums, and if we look at that Reich Exhibit 4, 20 Q. Did you ever ask anybody for a copy of the policy at
21 Page 304, that lists the premiums per year. 21 any time before Mr. Lupiloff's death?
22 Do you see that? 22 A. I don't believe so, no.
23 A. Ido. 23 Q. And the first time you ever saw the policy would have
24 Q. You understood at that time that's what you'd be 24 been after Mr. Lupiloff’s death, right?
25 paying per year? 25 A. That's correct.

25 (Pages 97 to 100)

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Page 101 Page 103
1 MR. BREDELL: Off the record. 1 A. Yep.
2 (Off the record at 4:47 p.m.) 2 Q. And you accepted it?
3 (Back on the record at 4:51 p.m) 3 A. Idid.
4 MARKED FOR IDENTIFICATION: 4 Q. Even though he's not followed through any promise to
5 DEPOSITION EXHIBIT 9 5 date with you?
6 4:51 pm. 6 A. He's paid me back some of the small Joan I gave him
7 BY MR. SCHMIDT: 7 and then he paid me back this one that I gave him.
8 Q. Sir, Ill hand you what has been marked as Exhibit 9. 8 Q. But you've got no proof of that.
9 That's a promissory note for $6,000 of 7-17-07? 9 A. No.
10 A. Yes. 10 MARKED FOR IDENTIFICATION:
11 Q. And you are loaning $6,000 to MAD Advertising, Gary 11 DEPOSITION EXHIBIT 10
12 Harmon? 12 4:55 p.m.
13 A. Yes. 13 BY MR. SCHMIDT:
14 Q. We talked about this briefly before, this is the loan 14 Q. Do you recall any discussion you had with
15 you're making to Harmon. This is after he's told you 15 Mr. Lupiloff, that the reason — that you were going
16 he’s not going to pay for the policy anymore? 16 to submit a Bad Check Crime Report when he sent you
17 A. Yeah, I believe it is. 17 that $20,000 NSF check way back in April of '03, and
18 Q. Okay. So when I asked you about it before, I didn't 18 that after that is when -- your discussion about the
19 ask you about it in that timeframe, I just asked you a 19 life insurance policy, in which case you wouldn't file
20 question about whether you had proof he paid you or 20 a crime report for that NSF check; do you remember any
21 you paid him and all of this. 21 discussion about that?
22 But now my question is why are you loaning 22 A. I think you have to ask me that question again.
23 him the $6,000, now he owes you for this original 23 Q. Back in ‘03 —
24 agreement that he's never paid you anything on, and 24 A. Yes.
25 now he's told you he's not paying for the life 25 Q. — for your initial deal, Exhibit 1, lasked you a
Page 102 Page 104
1 insurance policy anymore, so why are you going to loan 1 couple of hours ago, you said that Lupiloff gave you a
2 him another 6,000 bucks? 2 check for 20,000 bucks as a payment on that, right?
3 A. The same answer. I was trying to help Gary. 3 A. Yes.
4 Q. Help him what? 4 Q. And then you told me that that check came up NSF, no
5 A. With his business. He said he needed some money to 5 sufficient funds, correct, bad check?
6 continue his business. 6 A. Yes.
7 Q. And how does that help you? 7 Q. Do you recall a discussion, at any time thereafter,
8 A. Well, he paid me back. 8 that if Lupiloff got the insurance policy you wouldn't
9 Q. Pardon me? 9 proceed to have criminal charges brought against him
10 A. He paid me back. 10 for the NSF check?
11 Q. You loaning him $6,000 to help his business, how does 11 A. No, that was never said.
12 that benefit you as a businessman? 12 Q. You had no discussion about that?
13 A. Well, when I spoke with Gary, Gary was hoping to be 13 A. No. No.
14 selling his company, and he needed the money to keep 14 Q. Tl show you Exhibit 10. This is a report from bad
15 his company going, because if he couldn't pay his 15 check, it's dated 2-6-08. It's for this April 9, '03
16 salespeople, or whatever he needed the money for, his 16 $20,000 check signed by you.
17 business would go under and he wouldn't be able to 17 Do you recall that?
18 sell the company, which means he couldn't pay me back 18 A. [havea recollection of it, yes.
19 the principal. 19 Q. Do you want to take a look at that for a second and
20 Q. That's the same excuse he gave you four years earlier 20 refresh your memory?
21 in 2003 for the 2,500 bucks, that he was going to try 21 A. Iremember filling out these documents, yes.
22 to sell his business, though. Isn't it the same 22 Q. And why did you — and the date of that, excuse me, is
23 excuse? 23 2-6-08.
24 A. Mr. Schmidt, I don't know if excuse is the word. 24 So why on 2-6-08 are you filing this
25 Q. Reason, the same reason he gave you? 25 criminal report for a bad check that's way back from

26 (Pages 101 to 104)

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1 five years earlier, 4-9-03? 1 Do you recall getting this letter?
2 A. If l remember right, I was mailed documents from the 2 A. Idon't.
3 court, I don't know what court, that Gary was 3 Q. Do you recall this issue at all?
4 declaring bankruptcy. And J believe an attomey that 4 A. I beg your pardon?
5 I knew suggested that for me to be on the list of 5 Q. Do you recall this discussion at all —
6 creditors, that I should have as much documentation as 6 A. No.
7 possible in case there was ever a time that I could 7 Q. — that the anniversary is coming up and you've got to
8 collect from Gary. So the attomey suggested that I 8 convert it to a cash value now if you want to?
9 put in a report with regard to the check. 9 A. No.
10 Q. Some attorney told you that? 10 Q. Ifyou had this letter, if you read this letter back
11 A. I think so. I think so. 11 in November of '08, would you have made any different
12 Q. So that's not to get a record in bankruptcy, it's more 12 decision with the policy? I'm sorry, with the letter
13 or less to show a record about this bad check 13 in August of '08, would you have made any different
14 transaction; is that what it's for? 14 decision about the policy?
15 You already had a record of this agreement 15 A. No, I wouldn't have. No, I don't think I would have
16 with him, Exhibit 1, right? 16 understood exactly what this meant and J would have
17 A. Correct. 17 thrown it in the circular file.
18 Q. So why are you doing it? You already got Exhibit 1, 18 Q. Do you recall making any contacts with the Nationwide
19 which is the full amount, why are you doing this 19 agent, Betsy Reich, to discuss whether Lupiloff was
20 criminal report for Exhibit 10? 20 paying the premiums during the time that — before the
21 A. | think I did this, like I mentioned, I don't remember 21 time that you became the owner and payor of the
22 who mentioned that I should do this, but I'm going to 22 premiums?
23 repeat my answer, I got a letter from the court saying 23 A. J remember giving Betsy a call when Gary was the
24 Gary was declaring bankruptcy, that ] was a list of -- 24 owner.
25 I was one of a number of people that Gary owed money 25 Q. Do you recall how often you were calling her?
Page 106 Page 108
1 to and that J should do a Bad Check Crime Report just 1 A. I probably gave her a call every six months to a year,
2 to add to it. 2 I think.
3 Q. That letter you never produced, do you still have that 3 Q. Okay. Why were you doing that?
4 letter from the bank report? 4 A. Well, Gary had already asked me once or twice to pay
5 A. No, I don't think J do. 5 his insurance premium, so I thought I would call Betsy
6 MARKED FOR IDENTIFICATION: 6 every six or seven months to see if I needed to come
7 DEPOSITION EXHIBIT 11 7 in and pay Gary's premium or not. But Betsy didn't
8 4:59 p.m. 8 tell me anything.
9 BY MR. SCHMIDT: 9 Q. When you asked her if he had paid, would she tell you
10 Q. Sir, I'm going to hand you Exhibit 11. That's a 10 yes or no?
11 letter of 8-31-08 from Nationwide to you, referring to 11 A. No. No. She wouldn't.
12 the life insurance policy, and it says, "We are 12 Q. She would tell you that she wasn't allow to tell you?
13 concerned because you are rapidly approaching a very 13 A. Correct.
14 important policy anniversary. This is your final 14 Q. So if you called her once, and she says I can't tell
15 opportunity to convert this policy to a policy that 15 you, why would you keep calling her?
16 builds cash value. The term life policy contract 16 A. IT actually don’t really have a good answer. I just
17 gives you the option to convert this temporary term 17 called her, and maybe | was thinking that if Gary
18 policy to a permanent whole life policy with no 18 wasn't paying the premiums that she might contact him
19 medical requirements. 19 and say, well, Gary, you're late, or something like
20 One of the benefits of converting this 20 that.
21 policy is the ability to build cash value. Your 21 Q. Do you recall calling Betsy Reich, before Lupiloffs
22 current policy does not build cash value. Please act 22 death, and asking her if she knew if he had any other
23 quickly, because the conversion privilege will end 30 23 life insurance policies?
24 days after the policy anniversary listed at the top of 24 A. No, I don't think I ever asked Betsy that before.
25 this letter,” which is listed as 11-28-08. 25 Q. She testified at her dep that you called her before

27 (Pages 105 to 108)

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1 Lupiloff was killed and asked her if she was aware if 1 A. That is.
2 Lupiloff had any other life insurance policies. You 2 Q. That's dated 7-15-2010?
3 don't recall that happening? 3 A. That's the date that's on there, yes.
4 A. No, I don't recall that at all. 4 Q. So that would have been two days after his death?
5 Q. You, after Lupiloffs death, you recall you made a 5 A. Was he killed in July or June?
6 beneficiary claim for the benefits of the policy? 6 Q. July.
7 A. Ido remember. 7 A. July. Yes, so I got that on Thursday.
8 MARKED FOR IDENTIFICATION: 8 Q. So you got it and sent it in on the same day.
9 DEPOSITION EXHIBIT 12 9 A. I don't remember what day J sent it in.
10 5:05 p.m. 10 Q. Well, it's signed by you.
11 BY MR. SCHMIDT: 11 A. It's signed, that's when I got it, but I don't know if
12 Q. Do you recall when you first contacted anybody from 12 I mailed it in. I believe I may have mailed it in
13 Nationwide after Lupiloff's death about recovering 13 seven months later.
14 under the policy? 14 Q. You think you mailed it seven months later?
15 A. Yes. 15 A. I think so. I don't remember.
16 Q. When did you first call? 16 Q. Why do you think you did?
17 A. I believe I called Betsy Thursday moming. 17 A. I think my attomey at the time told me when I should
18 Q. So he died Tuesday, and how did you find out? 18 apply for the proceeds to the life insurance policy.
19 A. IT saw it on the news. 19 Q. Do you have any proof of when you sent it in?
20 Q. And which date did you see it on the news? 20 A. No. I was looking on this document to see if it had
21 A. I think it was Wednesday night. 21 some fax or timestamp on it, but I don't see one. So
22 Q. So your understanding was that it happened on Tuesday, 22 I'm not exactly sure when I mailed it in. That's when
23 his death happened on Tuesday? 23 I filled it out, because that's when I got it.
24 A. Yes. 24 MARKED FOR IDENTIFICATION:
25 Q. But it wasn't on the news until Wednesday night? Are 25 DEPOSITION EXHIBIT 13
Page 110 Page 112
1 you sure about that or are you not sure? 1 5:09 p.m.
2 A. Jam sure. 2 BY MR. SCHMIDT:
3 Q. That you first saw it on Wednesday night. 3 Q. Tlhand you, sir, Exhibit 13. That's an E-mail from
4 A. Yeah. That's when they released his name. 4 you to Abby T-E-D-E-S-C-H-I of Nationwide of 2-14-11.
5 Q. So you called Betsy on Thursday? 5 Do you recall that?
6 A. Yes. 6 A. I'll have to read it.
7 Q. And what did you ask her or tell her, or whatever? 7 Q. All right.
8 A. lasked her had she heard that Gary got shot. 8 (Off the record at 5:10 p.m.)
9 Q. And then what? 9 (The deposition was adjourned at 5:10 p.m.
10 A. I believe she said she did. 10 Signature of the witness was not requested by
11 Q. And then what? li counsel for the respective parties hereto.)
12 A. And I think we consoled one another. And then she 12
13 said that I should call up the Nationwide agent who's 13
14 handling her accounts, that she's no longer with 14
15 Nationwide. 15
16 Q. She told you to call the new agent? 16
17 A. Correct. 17
18 Q. And you did so? 18
19 A. I did. 19
20 Q. And then you followed up to Exhibit 12, is a 20
21 beneficiary claim form. Is that what you filled out? 21
22 A. Yes. 22
23 Q. And you asked for a lump-sum payment by a check? 23
24 A. Idid. 24
25 Q. And that's your signature on Page 0285? 25

28 (Pages 109 to 112)

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1 CERTIFICATE
2 STATE OF MICHIGAN
3 COUNTY OF MACOMB
4
5 I, SUSAN LOWRY, a Notary Public in and for
6 the above county and state, do hereby certify that
7 this deposition was taken before me at the time and
8 place hereinbefore set forth; that the witness was by
9 me first duly sworn to testify to the truth; that this
10 is a true, full and correct transcript of my
11 stenographic notes so taken; and that J am not
12 related, nor of counsel to either party, nor
13 interested in the event of this cause.
14
15
16
17
18
19
20 eS SE
21 SUSAN LOWRY, CSR-2636
22 Notary Public
23 Macomb County, Michigan
24 My commission expires December 3, 2016
25

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